IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA        )
                                )
                                )
          v.                    )   CRIMINAL CASE NO. 22-CR-00007-
                                    LKG
                                )
MARILYN J. MOSBY,               )
               Defendant        )
                                )
                                    DISCLOSURE OF
                                )
                                    JEROME B. SCHMITT, JR.
                                )
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    I. INTRODUCTION


     A. Marilyn J. Mosby

    1. Marilyn J. Mosby is State’s Attorney for Baltimore City. She was elected in 2014 and re-
       elected in 2018. Ms. Mosby is a graduate of Tuskegee University and has a Juris Doctorate
       degree from Boston College Law School. Prior to serving as State’s Attorney, Ms. Mosby
       had experience as a litigator in the Office of the State’s Attorney and as a lawyer in the
       Special Investigation Unit of a Fortune 100 company. 1


     B. History of the COVID-19 Pandemic and Effects on Economy

    2. On December 1, 2019, the first reported case of the coronavirus disease (known as
       “COVID-19”) was identified and reported in China. On January 30, 2020, the World
       Health Organization (“WHO”) declared COVID-19 a global emergency, identifying the
       virus as a “public health emergency of global concern.” 2 On January 31, 2020, the United
       States declared a public health emergency. On the same day, former President Donald J.
       Trump restricted travel from China. 3 By February, COVID-19 had spread to Europe,
       resulting in government mandated lock downs in Italy. 4

    3. On March 3, 2020 the Federal Reserve reduced its benchmark interest rate by a sizable
       half-percentage point in an effort to support the economy in the face of the spreading
       coronavirus. 5 On March 5, 2020 the United States Senate approved the Coronavirus
       Preparedness and Response Supplemental Appropriations Act, which provided $8.3 billion
       for public health agencies to be used for vaccines, tests and potential treatments. 6

    4. On March 11, 2020, the rapid spread of the disease worldwide resulted in the World Health
       Organization’s declaration of COVID-19 as a global pandemic (“Pandemic”). 7 On the
       same day, former President Trump declared a travel ban on visitors from Europe, other



1
  https://www.stattorney.org/office/meet-marilyn-mosby.
2
  https://abcnews.go.com/Health/timeline-coronavirus-started/story?id=69435165.
3
  https://www.nytimes.com/article/coronavirus-timeline.html.
4
  https://www.nytimes.com/article/coronavirus-timeline.html.
5
  https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da; and
   https://www.federalreserve.gov/monetarypolicy/files/monetary20200303a1.pdf.
6
  https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da; and https://www.imf.org/en/Topics/imf-and-covid19/Policy-Responses-to-
   COVID-19#U.
7
  https://www.cdc.gov/museum/timeline/covid19.html; and https://time.com/5791661/who-coronavirus-pandemic-
   declaration/.


                                                 Page 1
        than Great Britain. 8 On March 13, 2020, the Trump Administration declared a nationwide
        emergency and issued an additional travel ban on non-U.S. citizens traveling from 26
        European countries due to COVID-19. 9 In the same week, the NBA halted its season and
        the NCAA cancelled the men’s and women's national basketball tournaments. 10

    5. On March 16, 2020, the Trump administration urged older people and others at increased
       risk to stay home and keep away from other people. On the same day, the Dow Jones
       Industrial Average fell 13%, its worst drop in three decades, as investors feared the virus
       would throw the global economy into recession. 11

    6. On March 1, 2020, Florida declared a public health emergency. 12 On March 19 and 20,
       2020, the governors of California, New York, and Illinois issued stay-at-home orders. 13
       On March 30, 2020, Maryland Governor Larry Hogan (“Governor Hogan”) directed
       Maryland residents to stay home. 14

    7. By March 31, 2020, one third of all humanity and 80% of Americans were subject to some
       form of a government-imposed lockdown. 15 Also by that time, thirty-five states had stay-
       at home orders, resulting the closure of schools, businesses and other organizations. 16

    8. In the week ending March 21, 2020, a record 3.28 million workers applied for
       unemployment benefits in the United States, ending a run of 113 straight months in which
       U.S. employers added jobs. 17 By April 1, the Dow Jones Industrial Average and the S&P
       500 Index had declined by more than 20% from their pre-Pandemic highs in early 2020.
       The Russell 2000 Index had declined by more than 30%. The Chicago Board Options
       Exchange (“Cboe”) Volatility Index (“VIX”), commonly referred to as Wall Street’s “fear
       gauge,” rose from 19.49 on February 21, 2020 to 85.47 in March 2020, reflecting investor

8
  https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da.
9
  https://www.cdc.gov/museum/timeline/covid19.html.
10
   https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da.
11
   https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da.
12
   https://www.flhealthsource.gov/pdf/03012020-public-health-
   emergency.pdf#:~:text=WHEREAS%2C%20on%20March%201%2C%202020%2C%20Governor%20Ron%20D
   eSantis,be%20declared%20in%20the%20State%20of%20Florida%3B%20and.
13
   https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da.
14
   https://governor.maryland.gov/2020/03/30/as-covid-19-crisis-escalates-in-capital-region-governor-hogan-issues-
   stay-at-home-order-effective-tonight/.
15
   https://www.businessinsider.com/coronavirus-pandemic-timeline-history-major-events-2020-3; and
   https://news.yahoo.com/over-80-million-americans-under-180500861.html.
16
   https://www.forbes.com/sites/niallmccarthy/2020/04/02/covid-19-which-states-have-ordered-people-to-stay-
   home-infographic/?sh=429f640f5c33.
17
   https://www.wsj.com/articles/the-long-run-of-american-job-growth-has-ended-
   11585215000?mod=article_relatedinline.


                                                    Page 2
        uncertainty regarding the effects of the Pandemic on the economy. 18

     9. On March 27, 2020, former President Trump signed the Coronavirus Aid, Relief and
        Economy Security Act (“CARES Act”), a $2.2 trillion economic rescue package into law
        to provide “fast and direct economic assistance for American workers, families, small
        businesses, and industries.” 19 The CARES Act represented approximately 11% of the
        United States’ total gross domestic product and included, among other things, $268 billion
        for tax rebates to individuals, $268 billion in expanded unemployment benefits, $510
        billion to prevent corporate bankruptcy, $349 billion in forgivable Small Business
        Administration (“SBA”) loans, and $150 billion in transfers to state and local governments.


     C. Indictment

     10. The City of Baltimore offers deferred compensation plans to the Baltimore City State’s
         Attorney’s Office, including Ms. Mosby. Ms. Mosby’s deferred compensation plan, which
         is pursuant to section 457(b) of the Internal Revenue Code (“457(b) Plan”), allowed Ms.
         Mosby to contribute money deducted directly from her salary to a retirement account on a
         tax-free basis. Ms. Mosby elected to make contributions to her 457(b) Plan retirement
         account, including contributing $19,500 in calendar year 2020 ($5,250 from January 1,
         2020 to March 31, 2020 and $14,250 from March 31, 2020 to December 31, 2020). 20

     11. The CARES Act created an option to allow 457(b) Plan participants to take distributions
         from their 457(b) Plan retirement account and to pay income taxes on the distribution over
         a yearlong period. On or about May 26, 2020, Ms. Mosby submitted a distribution request
         to withdraw $40,000 of her savings from her 457(b) Plan account in accordance with the
         provision created by the CARES Act. 21 Additionally, on or around December 29, 2020,
         Ms. Mosby executed a distribution request to withdraw another $50,000 of her savings
         from her 457(b) Plan under the provision provided by the CARES Act. 22

     12. As required by the Participant Coronavirus Certification and Distribution Authorization
         form (“457(b) Distribution Form”) submitted by Ms. Mosby to take withdrawals under the
         CARES Act, Ms. Mosby certified that she qualified for both coronavirus-related
         distributions because she experienced adverse financial consequences stemming from
         COVID-19 as a result of (1) being quarantined, furloughed or laid off, (2) having reduced

18
   https://www.reuters.com/article/us-usa-markets-volatility/wall-street-vix-fear-gauge-slips-to-fresh-pandemic-low-
   idUSKBN2B82JB.
19
   https://apnews.com/article/europe-us-news-china-united-nations-financial-markets-
   f143c90d86e5887fbb74cdc40b6796da; and https://home.treasury.gov/policy-issues/coronavirus/about-the-cares-
   act.
20
   USA-011053-11080.
21
   457(b) Coronavirus-Related Distribution Request form dated May 26, 2020.
22
   457(b) Coronavirus-Related Distribution Request form dated December 29, 2020.


                                                      Page 3
   work hours, (3) being unable to work due to a lack of child care or the closing or (4)
   reduction of hours of a business she owned or operated.

13. On January 13, 2022, the United States, through the Department of Justice (“DOJ”), issued
    an indictment against Ms. Mosby charging, among other things, that Ms. Mosby committed
    perjury by certifying that she was entitled to take distributions from her 457(b) Plan under
    the relief provided in the CARES Act (“Indictment”).


D. Objectives of the Engagement

14. I have been engaged by Reed Smith (“Counsel”) on behalf of Ms. Mosby to analyze and
    offer opinions, within a reasonable degree of accounting and professional certainty,
    regarding:

       a. The effect of the Pandemic on Ms. Mosby’s personal financial condition, including
          her income, expenses, assets, debts, and net worth to assess whether Ms. Mosby’s
          financial condition was materially adversely affected by the Pandemic in the first
          quarter of 2020.

       b. The financial and economic effect of COVID-19 on the travel industry and
          Mahogany Elite Enterprises, LLC (“Mahogany Elite”). Specifically, I have been
          engaged to analyze and provide testimony regarding (1) the losses suffered by many
          travel businesses in 2020 as a result of the Pandemic and (2) the ability of an early-
          stage travel-related company, such as Mahogany Elite, to generate revenue and
          profits in 2020 after COVID-19 was declared a pandemic.

15. In addition to the objectives outlined above, I have been requested by Counsel to review,
    analyze and provide opinions regarding any fact summary or expert witness opinions
    presented by the DOJ. I expect to provide such opinions at trial and after such experts and
    their opinions have been disclosed by the DOJ.

16. My analysis is based solely on the accounting, financial and economic issues outlined in
    the objectives above. I take no position on questions of fact regarding liability and offer
    no opinions on the legal merits or other legal matters at issue in this proceeding.


E. Qualifications of Gleason Experts and Jerome B. Schmitt, Jr. CPA/ABV/CFF, CFE

17. Gleason Experts is a certified public accounting and consulting firm that provides
    specialized financial, accounting and economic advisory services to corporations, banks,
    insurance companies, attorneys, investors, and individuals in the areas of forensic
    accounting, business valuation, litigation, and financial reorganization.




                                          Page 4
18. I am Managing Director with Gleason, where I am responsible for leading engagements in
    the firm’s litigation, business valuation, and forensic accounting practice areas. I have over
    20 years of experience in the areas of accounting, finance, valuation, fraud investigations,
    mergers and acquisitions, and bankruptcy/financial reorganization. I have extensive
    experience in, among other things, valuing publicly traded and privately held businesses,
    performing fraud investigations, and quantifying financial damages in commercial
    disputes. As part of my work, I have been qualified to provide expert witness testimony in
    state and federal courts, and before and arbitration panels.

19. I hold a B.S.B.A. in Accountancy and Master of Business Administration (“MBA”) degree
    from John Carroll University. I am also a Certified Public Accountant (licensed in the
    Commonwealth of Pennsylvania) and hold the advanced credentials of Accredited in
    Business Valuation (“ABV”) and Certified in Financial Forensics (“CFF”) from the
    American Institute of Certified Public Accountants, as well as and Certified Fraud
    Examiner (“CFE”) from the Association of Certified Fraud Examiners. My detailed
    curriculum vitae is attached at Appendix 1.

20. I am required to take 80 hours of continuing professional education every two years to
    maintain by CPA license, 60 hours of continuing professional education specific to
    business valuation to maintain my ABV credential, and 10 hours per year to maintain by
    CFE credential. Since 2020, a portion of my CPE has been directed towards studying the
    effects of the Pandemic on U.S. economy and the valuation of private businesses in the
    United States.

21. I have been retained as and served as an expert witness on financial and valuation issues
    numerous times, including in federal court, various state courts and before arbitration
    panels. In addition, I have taught a number of continuing professional education courses
    involving forensic accounting and business valuation, including for multi-national law
    firms, the Allegheny County Bar Association and the Turnaround Business Association.

22. In my 20+ years of experience auditing, analyzing, investigating and valuing business
    across a wide variety of industries, I have specific experience in a number of businesses in
    the travel and entertainment industry. For example, I have worked on engagements
    involving:

       •   The valuation or forensic investigation of multiple hotels;

       •   Analysis of lost profits and diminution of value of a real estate development focused




                                           Page 5
           on vacation homes;

       •   The audit and valuation of franchises in the National Football League;

       •   Numerous valuations and forensic investigations involving the restaurant industry;
           and

       •   The audit of a company that provided ownership of fractional interests in aircrafts.

23. In forming the opinions and conclusions stated in this report, I relied on my specialized
    financial, accounting, and business valuation expertise, as well as the facts and documents
    provided. All exhibits used to summarize and support my opinions and conclusions are
    attached to this report.

24. In carrying out the objectives of this engagement, I have been assisted by other Gleason
    staff members. All work in preparation of this report that was performed by others was
    done under my direct supervision. I have arrived at all the opinions and conclusions
    expressed in this report.

25. I reserve the right to amend or supplement this report as necessary should additional
    information become available to me, or upon rebuttal. The use of this report is limited to
    the current matter referenced above and this report may not be used for any other purpose
    without prior written consent.


F.   Tasks Performed and Information Reviewed

26. To accomplish the objectives of this engagement, we performed the following tasks:

       a. Reviewed relevant court filings, pleadings, and related documents;

       b. Reviewed and analyzed numerous documents produced in this matter and provided
          to us by Counsel. A complete list of specific documents and files that we have
          considered is attached to this report at Appendix 2;

       c. Performed independent research on general economic and industry conditions
          related to the U.S. equity markets and the travel sector; and

       d. Summarized my findings and opinions to date in this report.

27. I have relied on the documents and information produced in this matter that have been
    provided to me. Where statements made by party representatives have been relied upon, I
    have used the documents and information provided to us to confirm such statements. I have



                                          Page 6
      not tested, nor have I been asked to audit or test the accuracy and integrity of, the
      documents and information provided to me.

28. Minor differences may exist in the data that are summarized in tables and graphs included
    in this report due to rounding.




II.      ANALYSIS OF MS. MOSBY’S FINANCIAL CONDITION AND THE EFFECT
         OF THE PANDEMIC

29. To assess whether Ms. Mosby’s financial condition was adversely affected by the
    Pandemic, I have reviewed Ms. Mosby’s assets, liabilities, income, and expenses and
    calculated her net worth at various points in the first quarter of 2020, when COVID-19 was
    declared a global pandemic. An individual’s net worth is equal to the value of that person’s
    assets less the value of her liabilities at a given point in time.

30. From a financial and accounting perspective, a net worth analysis inherently also considers
    an individual’s income, expenses, gains, and losses. For example, to the extent that an
    individual’s income and gains exceed her expenses and losses, that person’s assets, and net
    worth, will increase. Similarly, if expenses and losses exceed income, the individual’s net
    worth will decline. For this reason, I have focused my analysis on Ms. Mosby’s net worth,
    as it provides the most comprehensive and cumulative view of her financial condition at a
    given point in time.

31. To quantify Ms. Mosby’s net worth, I first reviewed the available records to identify each
    of her assets and liabilities. I then analyzed the change in the value of those assets and
    liabilities based on readily observable third-party sources such as bank statements, credit
    card statements, credit reports, and retirement account statements. These third-party
    documents provide an independent assessment of the value of Ms. Mosby’s assets and
    liabilities over time and were available to her in the first quarter of 2020.

32. For purposes of this analysis, I have not considered the value of assets and liabilities that
    were not known by or readily available to Ms. Mosby in the first quarter of 2020, including
    the value of Mahogany Elite, LLC. Further, my analysis is limited to assets and liabilities
    in Ms. Mosby’s name (which excludes any assets or liabilities of her husband, Nick
    Mosby).

33. Ms. Mosby’s assets in the first quarter of 2020 for which there are readily available values
    include two checking accounts, a savings account and her 457(b) Plan. Exhibit A
    illustrates the value of Ms. Mosby’s asset balances at the beginning and end of the first
    quarter of 2020. As demonstrated in the following table, the value of Ms. Mosby’s assets


                                           Page 7
   declined by more than $18,000 or approximately 15% from December 31, 2019 to March
   31, 2020:

                                                 Account Balance as of
                                              December 31,    March 31,
                                                  2019           2020           Change
        Bank of America                        $    6,090     $    5,479         $ (611)
        MECU Credit Union (Checking)                   11              20               9
        MECU Credit Union (Savings)                 2,559          4,677            2,118
        Nationwide                                115,497         95,953         (19,544)
          Total                                $ 124,157      $ 106,129        $ (18,028)

34. Ms. Mosby’s liabilities in first quarter of 2020 for which there are readily available values
    include several credit card accounts, student loans, and an automobile lease. Exhibit A
    illustrates the value Ms. Mosby’s liabilities at the beginning and end of the first quarter of
    2020. As demonstrated in the following table, the value of Ms. Mosby’s liabilities declined
    by more than $13,000 or approximately 16% from December 31, 2019 to March 31, 2020:

                                            Account Balance as of
                                         December 31,    March 31,
         Short Term Liabilities
                                            2019            2020                Change
         American Express                 $       -      $        33             $      33
         Bank of America                     19,169          15,702                (3,467)
         American Airlines                      974            1,581                   607
         CitiBank                             6,298               51               (6,247)
           Subtotal                       $ 26,441       $ 17,367               $ (9,074)

         Long Term Liabilities
         NelNet (Student Loans)            $ 14,179          $ 13,978          $    (201)
         NelNet (Student Loans)              16,518            16,284               (234)
         BMW Financial Services              27,749            23,779             (3,970)
           Subtotal                        $ 58,446          $ 54,041             (4,405)
            Total                          $ 84,887          $ 71,408          $ (13,479)

35. When considering her overall assets with liabilities over the same period, her overall net
    worth decreased by approximately $4,500 or 12% as shown on Exhibit A and in the table
    below:




                                           Page 8
                                                              Account Balance as of
                                                   December 31,                          March 31,
                                                      2019                                 2020                           Change
                 Assets                             $ 124,157                            $ 106,129                       $ (18,028)
                 Less Liabilities                      84,887                               71,408                         (13,479)
                      Net Worth                           $      39,270                   $ 34,721                       $ (4,549)


 36. In December 2019, when the first reported case of COVID-19 was identified and reported
     in China, Ms. Mosby’s largest asset was her 457(b) Plan. The decline in the value of Ms.
     Mosby’s 457(b) Plan during the first quarter of 2020 was the primary reason for the decline
     in her net worth from December 31, 2019 to March 31, 2020. The value of Ms. Mosby’s
     457(b) Plan, which is primarily comprised of investments in publicly traded stocks, sharply
     declined in March 2020, as shown on Exhibit B and in the following table:


                         Daily Market Value of Ms. Mosby's 457(b) Plan
                                       12/31/19 - 3/31/20
$125,000
$120,000
$115,000
$110,000
$105,000
$100,000
 $95,000
 $90,000
 $85,000
 $80,000
 $75,000
                                  1/15/2020

                                              1/22/2020

                                                              1/29/2020




                                                                                     2/12/2020

                                                                                                 2/19/2020

                                                                                                             2/26/2020




                                                                                                                                      3/11/2020

                                                                                                                                                  3/18/2020

                                                                                                                                                              3/25/2020
           1/1/2020

                       1/8/2020




                                                                          2/5/2020




                                                                                                                           3/4/2020




 37. As shown above and on Exhibit B, the value of Ms. Mosby’s 457(b) Plan increased from
     $115,496 on January 1, 2020 to $120,736 on February 18, 2020 before rapidly declining
     by 30% to $84,330 on March 23, 2020. By March 31, 2020, the value of Ms. Mosby’s
     457(b) Plan was $95,953 or almost $20,000 less than as of December 31, 2019, despite the
    fact that Ms. Mosby contributed $5,250 of cash to her 457(b) Plan in the first quarter of



                                                                              Page 9
        2020. 23

     38. The investment performance of Ms. Mosby’s 457(b) Plan is consistent with the
         performance of major equity markets in the United States and around the world in the
         spring of 2020. In March 2020, the reported revenues of businesses across the United
         States were negatively affected by the Pandemic and the resulting government-imposed
         shutdowns that slowed business activity. Further, investors anticipated the economic
         slowdown to continue beyond March 2020. For example, in March 2020, Goldman Sachs
         estimated GDP would decline by 24% in the second quarter, 2.5 times greater than any
         decline in history. 24

     39. From a business valuation perspective, the Pandemic, which caused a significant decline
         in commercial activity, consumer spending and U.S. GDP as well as great uncertainty
         regarding future economic conditions, led to a widespread decline in the value of
         businesses across the United States in the first quarter of 2020. The Pandemic’s effect on
         the valuation of many businesses as of the end of March 2020 was twofold: (1) a decrease
         in expected short term profits and (2) an increase in risk, which leads to higher required
         rates of return and lower valuations. This is consistent with observable market prices, as
         US equity markets experienced a substantial decline in February and March 2020. This
         decline was widely attributed to the Pandemic in the financial media and corresponded
         with WHO, CDC, and state governments recognizing COVID-19 as a pandemic, the
         closing many businesses and schools and the reporting of record unemployment claims. 25




23
   USA-010621-627 and Exhibit B.
24
   https://markets.businessinsider.com/news/stocks/us-gdp-drop-record-2q-amid-coronavirus-recession-goldman-
   sachs-2020-3-1029018308.
25
   https://www.cnbc.com/2020/02/25/coronavirus-wipes-out-1point7-trillion-in-us-stock-market-value-in-two-
   days.html.


                                                   Page 10
                                           U.S. Equity Markets
                                      January 1, 2019 - March 31, 2020
               3,500                                                                         30,000

               3,000                                                                         25,000

               2,500                                                                         20,000

               2,000                                                                         15,000




                                        S&P 500            Dow Jones Industrial Average


       40. Further, uncertainty regarding the ability to control the spread of the disease and its
           economic effect caused great volatility in the equity markets. For example, the New York
           Stock Exchange experienced a circuit break four times in March 2020, pausing trading for
           15 minutes as a result rapid selloffs. 26 Prior to March 2020, the market-wide circuit
           breakers had only been triggered once, in 1997. The VIX, which is generally recognized
           as one of the best measures of fear in U.S. equity markets, spiked to its highest reported
           level in March of 2020: 27


                                       CBOE Market Volatility Index
                                      January 1, 2020 - March 31, 2020
                    90.00
                    80.00
                    70.00
                    60.00
                    50.00
                    40.00
                    30.00
                    20.00
                    10.00
                       -




26
     https://www.weforum.org/agenda/2020/03/stock-market-volatility-coronavirus/.
27
     https://www.cnbc.com/2020/03/16/wall-streets-fear-gauge-hits-highest-level-ever.html.



                                                      Page 11
       41. As noted above, the first objective of my engagement was to determine whether Ms. Mosby
           experienced adverse financial consequences in the first quarter of 2020 as a result of the
           Pandemic. Based on my analysis of Ms. Mosby’s assets, liabilities, and net worth from
           January 1, 2020 to March 31, 2020, the Pandemic’s effect on the U.S. economy, the sudden
           declines in the value (and increase in volatility) of U.S. equity markets and Ms. Mosby’s
           457(b) Plan caused by the Pandemic, it is my opinion that, in March 2020, Ms. Mosby
           experienced adverse financial consequences as a result of the Pandemic.



       III.       ANALYSIS OF THE EFFECTS OF THE PANDEMIC ON THE TRAVEL
                 INDUSTRY AND MAHOGANY ELITE


              A. Background on Mahogany Elite


       42. Ms. Mosby formed Mahogany Elite in May 2019. 28 Based on my discussion with Ms.
           Mosby, the original business plan for Mahogany Elite was to provide out-of-town retreats
           and conferences focused on self-care and networking for black women professionals. I
           also understand from discussions with Ms. Mosby that she attended a similar event called
           the Odyssey Network Business Retreat, an experience that inspired her to create Mahogany
           Elite. 29

       43. In 2019, in addition to registering Mahogany Elite with the state of Maryland, Ms. Mosby
           also obtained a domain name through GoDaddy.com and retained a third party to develop
           a logo and website for Mahogany Elite. Based on my discussion with Ms. Mosby, I
           understand that, as of the end of 2019, she intended to complete the design of a logo and
           website, launch Mahogany Elite and host at least one event in 2020.




28
     https://egov.maryland.gov/BusinessExpress/EntitySearch; and Based on discussions with Ms. Mosby.
29
     https://www.prnewswire.com/news-releases/the-odyssey-network-business-retreat-treks-into-milestone-year-
     300897942.html.


                                                     Page 12
        B. Effects of Pandemic on Travel Industry

     44. On March 13, 2020, former President Trump declared a national emergency and
         subsequently announced social distancing guidelines. 30 While the Federal social distancing
         guidelines directed Americans to follow State and Local authorities, the guidelines also
         advised the following: 31

                 •    Remain at home if with serious underlying health condition(s);
                 •    Work or engage in school from home when possible;
                 •    Avoid social gatherings in groups greater than 10;
                 •    Avoid eating out at restaurants or food courts; and
                 •    Avoid discretionary travel.

     45. At the state level, additional and more focused travel restrictions were put in place in 2020.
         For example, Maryland’s Governor Hogan announced school closures, cruise terminal
         closures, mandatory telework for non-essential state employees, and casino and racetrack
         closures. 32 On March 19, 2020, Governor Hogan restricted traffic at Baltimore
         Washington International Marshall Airport (“BWI”) and mandated restaurant, theater,
         mall, gym and other recreational establishment closures. 33

     46. Travel restrictions on both a Federal and State level were enforced at various points
         throughout the Pandemic in efforts to curtail the spread of COVID-19. By April 2020, the
         Federal U.S. Government installed travel restrictions for China, Iran, Schengen Area of the
         European Union, United Kingdom, Canada, and Mexico. 34 Travel within the United States
         decreased as governors issued travel advisories or, in some cases, mandates restricting
         travel to other states where COVID-19 cases were high. In Maryland, Governor Hogan




30
    https://www.nytimes.com/2020/03/16/us/politics/trump-coronavirus-guidelines.html; and
   https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-declaring-national-emergency-
   concerning-novel-coronavirus-disease-covid-19-outbreak/.
31
   http://web.archive.org/web/20200316213359/https://www.whitehouse.gov/wp-
   content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf.
32
   https://governor.maryland.gov/2020/03/12/governor-hogan-announces-major-actions-to-protect-public-health-
   limit-spread-of-covid-19-pandemic/; and https://governor.maryland.gov/2020/03/15/governor-hogan-issues-
   emergency-order-to-close-all-maryland-casinos-racetracks-and-simulcast-betting-facilities-to-prevent-the-spread-
   of-covid-19/.
33
   https://governor.maryland.gov/2020/03/19/governor-hogan-announces-further-actions-to-slow-the-spread-of-
   covid-19-relaunches-maryland-unites-initiative/; and https://governor.maryland.gov/wp-
   content/uploads/2020/03/Amending-Gatherings.pdf.
34
   https://thehill.com/homenews/administration/493659-us-announces-extended-travel-restrictions-with-mexico-
   canada/; and https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-suspension-entry-
   immigrants-nonimmigrants-certain-additional-persons-pose-risk-transmitting-coronavirus-2/.


                                                     Page 13
        issued travel advisories to residents to avoid travel to other U.S. states including Alabama,
        Arizona, Florida, and Georgia, among others. 35

     47. Based on my research and analysis, Americans traveled far less in 2020 than in 2019
         because of the Pandemic and associated government travel restrictions. For example,
         IBISWorld, which provides expert industry market research across a variety of industries,
         projected in October 2020 that revenue for the domestic airline industry would decline by
         33% in 2020 “due to decreased demand amid travel warnings and restrictions.” 36 Indeed,
         the three airports in the Baltimore and Washington, DC area experienced a massive decline
         in passengers from January 2019 through December 2020: 37

                                             Passengers by Airport
                                         January 2019 - December 2020
            3,000,000
            2,500,000
            2,000,000
            1,500,000
            1,000,000
              500,000
                    -
                          Jan-19




                         Dec-19
                          Jan-20
                           Jul-19




                         Dec-20
                         Oct-19




                           Jul-20
                         Aug-19



                         Nov-19




                         Oct-20
                         Apr-19




                         Aug-20



                         Nov-20
                         Apr-20
                         Mar-19

                         May-19
                          Jun-19
                         Feb-19




                         Sep-19




                         Mar-20

                         May-20
                          Jun-20
                         Feb-20




                         Sep-20
                                           BWI
                                           Ronald Reagan Washington International
                                           Washington Dulles International


     48. Collectively, the three major airports in the Baltimore / Washington D.C. area registered
         266,694 passengers and 602,907 passengers in April and May 2020, respectively, which
         represented respective declines of 96% and 91% from April and May 2019. Further, in
         every month from March 2020 to December 2020, passenger volume at these three airports
         collectively declined by at least 50% compared to the same month in 2019.

     49. Similar to the airline industry, the hotel industry experienced significant declines in stays
         and revenues. According to American Hotel and Lodging Association, “[t]he hotel
         industry experienced the most devastating year on record in 2020, resulting in historically

35
   https://health.maryland.gov/phpa/Documents/07.29.2020%20-%20MDH%20Notice%20-
   %20Out%20of%20State%20Travel%20Advisory.pdf; and https://governor.maryland.gov/2020/07/29/governor-
   hogan-announces-expanded-statewide-mask-order-out-of-state-travel-advisory/.
36
   IbisWorld Report – “Domestic Airlines in the US (48111b).”
37
   https://www.bwiairport.com/flying-with-us/about-bwi/statistics; and https://www.mwaa.com/dulles-air-traffic-
   statistics.


                                                    Page 14
           low occupancy, massive job loss, and hotel closures across the country.” 38 Likewise, the
           cruise tourism industry reported an 81% reduction in passengers in 2020 compared to 2019
           (29.7 million). 39

       50. From a business valuation perspective, the overwhelming majority of publicly traded
           companies in the travel sector experienced sharp declines in value in March 2020, as
           investors accounted for the risk of a prolonged Pandemic on both leisure and business
           travel. As an illustration of the effect of the Pandemic on the travel industry, I prepared
           Exhibit C which recounts the change in value of some of the largest, most well-known
           companies in the travel sector. As shown on Exhibit C, the value of all these companies
           declined from December 31, 2019 to May 26, 2020 and, for most of the companies, the
           value remained below pre-Pandemic levels through December 31, 2020.

       51. In addition to a decline in the valuation of most travel-related businesses in 2020, there was
           an increase in investor uncertainty regarding the future of the travel industry (at least on a
           short-term basis). As shown on Exhibit C, there was a significant uptick in trading
           volatility associated with the majority of the entities identified from December 31, 2019 to
           May 26, 2020, reflecting the increased uncertainty in investor expectations caused by the
           Pandemic.


        C. Effects of Pandemic on Mahogany Elite
       52. The travel industry was severely and negatively affected by the Pandemic in 2020, as
           discussed above and as evidenced by the substantial declines in volume, revenue and value
           associated with the airline, hotel and cruise industries. Based on my discussions with Ms.
           Mosby, she decided not to organize an inaugural event for Mahogany Elite in 2020 once
           the Pandemic’s effect on the travel industry became apparent.
       53. Mahogany Elite, which was in the pre-revenue, development stage at the onset of the
           Pandemic, is obviously not directly comparable to a large, publicly traded company in the
           travel sector. However, the overall decline in travel activity in 2020 caused by the
           Pandemic that negatively affected the travel sector of U.S. equity markets would
           undoubtedly have also negatively affected Mahogany Elite’s prospects for success and its
           ability to attract customers had it launched in 2020 as Ms. Mosby originally planned.
       54. The Pandemic severely hampered the revenue and value of some of the largest, most well-
           known businesses in the travel sector. From a financial and accounting perspective, large,
           well-capitalized businesses were in a better position to weather the decline in commercial
           activity caused by the Pandemic than small, development stage companies which lack the
           resources of their larger publicly-traded counterparts. In my opinion, Mahogany Elite’s

38
     https://www.ahla.com/soti2021.
39
     https://cruising.org/-/media/clia-media/research/2022/clia-state-of-the-cruise-industry-2022_updated.ashx.


                                                        Page 15
      business prospects were negatively affected by the drastic decline in travel caused by the
      Pandemic because its ability to launch an inaugural event and generate revenue in 2020
      were significantly and adversely affected.



IV.      CONCLUSIONS

55.    Based on my analysis, Ms. Mosby experienced adverse financial consequences in the
       first quarter 2020 as a result of the Pandemic.

56.    Based on my research and analysis, the travel industry in the United States was severely
       and negatively affected by the Pandemic in 2020.

57.    Mahogany Elite’s business prospects were adversely affected by the drastic decline in
       travel caused by the Pandemic, as its ability to launch an inaugural event and generate
       revenue in 2020 was significantly diminished.


                                   * * * * * * * *




                                           Page 16
58.    The opinions and conclusions stated in this report are expressed with a reasonable degree
       of professional certainty.

59.    This report represents my opinions regarding the matters incorporated herein based upon
       information available to date. In the event that additional data or testimony is made
       available, I reserve the right to revise or supplement my opinions.

60.    The use of this report is limited to the current matter referenced above and may not be
       used for any other purpose without prior written consent.

61.    The matters stated herein are true and correct to the best of my knowledge, information,
       and belief.




      Jerome B. Schmitt, Jr., CPA/ABV/CFF CFE
      JBS

      Exhibits and Appendices




                                          Page 17
United States of America v. Marilyn J. Mosby                                                                                                                          Exhibit A
Net Worth Analysis, December 31, 2019 - May 20, 2020


                                         Account No.                    12/31/19           01/31/20          02/29/20           03/31/20                   Document
  ASSETS
  Checking & Savings Accounts:
  Bank of America                        0039 2145 9041             $         6,090    $       9,368     $        4,838     $       5,479    USA-0003919-458, at 409-440.
  MECU Credit Union                      52148205                                11               11                 11                20    USA-008133-267, at 252-259.
  MECU Credit Union                      52148200                             2,559            4,059              5,060             4,677    USA-008133-267, at 252-259.
                                                                    $         8,660    $      13,438     $        9,909     $      10,176
  Business Interests
  Mahogany Elite Enterprises, LLC [a]                                          N/A               N/A               N/A               N/A

  Retirement Account:
  Nationwide [c]                         11722919                   $      115,497     $     115,701     $      109,295     $      95,953    USA-010621-627.
  TOTAL ASSETS                                                      $      124,157     $     129,139     $      119,204     $     106,129
  LIABILITIES
  Credit Cards:
  American Express                       Ending 9-65003             $          -       $         -       $          -       $          33    AMEX000005-510, at 459-482.
  Bank of America                        4313 0716 2114 5213                19,169            19,384             18,238            15,702    USA-002463-740, at 711-722.
  American Airlines                      5524 8604 8851 3683                   974             2,480              1,402             1,581    USA-002169-320, at 239-265.
  Chase [b]                              4121 3831 0845 2943                   -                 -                  -                 -      USA-007237-258, at 242-243.
  CitiBank                               Ending 3104                         6,298             4,643                  11               51    USA-006943-7150, at 121-132.
                                                                    $       26,441     $      26,507     $       19,651     $      17,367
  Student Loans:
  NelNet Loan Services [b]               17497                      $       14,179     $      14,112     $       14,045     $      13,978    USA-007237-258, at 246-247.
  NelNet Loan Services [b]               17497                              16,518            16,440             16,361            16,284    USA-007237-258, at 247-249.
                                                                    $       30,697     $      30,552     $       30,406     $      30,262
  Automobile Lease:
  BMW Financial Services [b]             4003 1936 77               $       27,749     $      24,541     $       24,646     $      23,779    USA-007237-258, at 250-252.

  TOTAL LIABILITIES                                                 $       84,887     $      81,600     $       74,703     $      71,408

  NET WORTH                                                         $       39,270     $      47,539     $       44,501     $      34,721

  Notes:
  [a] - As a private business, Mahogany Elite Enterprises, LLC does not receive or provide account statements; as such, the values on this schedule remain blank.
  [b] - Amounts obtained from Equifax credit report.
  [c] - Based on quarterly reports provided to Ms. Mosby on a monthly or quarterly basis and https://finance.yahoo.com/.




                                                                                                                                                                       Page 1 of 1
 Marilyn J. Mosby, Nationwide Account #11722919                                                                                                       Exhibit B
 Summary of Daily Account Value



                                                                            Nationwide                                                    Portfolio
 Ticker   BMIDX DODIX       FXNAX IHOTX        JEMSX     LSVEX      BRSUX Fixed Fund TRLGX VFTNX CHCYX HRINX GOBFX VASVX                   Value
1/1/2020 $    -   $ 4,479   $   -   $    -     $ 8,243   $ 10,365   $   -   $    6,701 $ 9,246 $ 31,446 $ 5,708 $ 28,947 $ 3,453 $ 6,908 $ 115,496
1/2/2020      -     4,469       -        -       8,411     10,490       -        6,701   9,315   31,690   5,773   29,141   3,165   6,946    116,100
1/3/2020      -     4,509       -        -       8,367     10,432       -        6,746   9,306   31,649   5,776   29,056   3,176   6,927    115,943
1/6/2020      -     4,506       -        -       8,305     10,409       -        6,746   9,387   31,764   5,810   29,099   3,179   6,925    116,131
1/7/2020      -     4,502       -        -       8,362     10,386       -        6,746   9,383   31,677   5,825   29,027   3,170   6,927    116,006
1/9/2020      -     4,506       -        -       8,502     10,448       -        6,746   9,517   32,139   5,900   29,113   3,167   6,945    116,983
1/10/2020     -     4,506       -        -       8,491     10,388       -        6,737   9,519   32,041   5,882   28,982   3,169   6,898    116,614
1/13/2020     -     4,506       -        -       8,608     10,446       -        6,737   9,590   32,286   5,942   29,112   3,166   6,934    117,328
1/14/2020     -     4,509       -        -       8,568     10,492       -        6,737   9,546   32,242   5,962   29,141   3,169   6,957    117,324
1/15/2020     -     4,516       -        -       8,532     10,446       -        6,737   9,580   32,300   5,972   29,163   3,169   6,957    117,371
1/16/2020     -     4,516       -        -       8,588     10,526       -        6,737   9,668   32,588   6,036   29,221   3,169   7,023    118,073
1/17/2020     -     4,546       -        -       8,664     10,613       -        6,782   9,763   32,949   6,074   29,480   3,187   7,063    119,121
1/21/2020     -     4,556       -        -       8,469     10,513       -        6,782   9,740   32,847   6,074   29,328   3,181   7,014    118,503
1/22/2020     -     4,559       -        -       8,525     10,516       -        6,782   9,734   32,876   6,074   29,408   3,193   7,017    118,684
1/23/2020     -     4,562       -        -       8,461     10,532       -        6,782   9,755   32,935   6,084   29,299   3,187   7,025    118,620
1/24/2020     -     4,568       -        -       8,399     10,382       -        6,782   9,656   32,630   6,029   29,241   3,187   6,942    117,815
1/27/2020     -     4,575       -        -       8,184     10,197       -        6,782   9,477   32,079   5,949   28,717   3,169   6,813    115,941
1/28/2020     -     4,572       -        -       8,286     10,289       -        6,782   9,599   32,456   6,029   28,885   3,172   6,854    116,924
1/29/2020     -     4,581       -        -       8,307     10,228       -        6,782   9,635   32,441   6,034   28,834   3,175   6,839    116,855
1/30/2020     -     4,578       -        -       8,212     10,255       -        6,782   9,637   32,543   6,009   28,783   3,172   6,872    116,842
1/31/2020     -     4,618       -        -       8,116     10,099       -        6,827   9,554   32,049   5,932   28,534   3,192   6,781    115,701
2/3/2020      -     4,618       -        -       8,178     10,157       -        6,827   9,685   32,414   6,002   28,578   3,189   6,830    116,478
2/4/2020      -     4,608       -        -       8,384     10,312       -        6,827   9,874   32,954   6,143   28,988   3,195   6,921    118,206
2/5/2020      -     4,605       -        -       8,384     10,541       -        6,827   9,906   33,275   6,133   29,302   3,192   7,056    119,221
2/6/2020      -     4,608       -        -       8,415     10,494       -        6,827   9,959   33,392   6,158   29,368   3,186   7,025    119,432
2/7/2020      -     4,618       -        -       8,307     10,413       -        6,827   9,918   33,188   6,123   29,105   3,171   6,957    118,626
2/10/2020     -     4,624       -        -       8,333     10,444       -        6,827  10,046   33,451   6,203   29,134   3,174   6,978    119,213
2/11/2020     -     4,621       -        -       8,405     10,521       -        6,827  10,048   33,494   6,238   29,368   3,183   7,048    119,754
2/12/2020     -     4,621       -        -       8,526     10,576       -        6,827  10,147   33,743   6,314   29,397   3,186   7,111    120,448
2/13/2020     -     4,621       -        -       8,477     10,533       -        6,827  10,137   33,699   6,339   29,229   3,189   7,113    120,164
2/14/2020     -     4,657       -        -       8,524     10,558       -        6,872  10,233   34,003   6,392   29,358   3,216   7,127    120,941
2/18/2020   6,407   8,139       -     29,123     8,447     10,476     7,109      6,872  10,263   33,886       0       (0)     16      (0)   120,736
2/19/2020   6,433   8,139       -     29,307     8,530     10,511     7,149      6,872  10,327   34,106       0       (0)     16      (0)   121,390
2/20/2020   6,415   8,150       -     29,039     8,449     10,531     7,159      6,872  10,256   33,989       0       (0)     16      (0)   120,877
2/21/2020   6,337   8,162       -     28,905     8,389     10,445     7,083      6,872  10,079   33,578       0       (0)     16      (0)   119,866
2/24/2020   6,169   8,173       -     27,899     8,127     10,098     6,872      6,872   9,670   32,417       0       (0)     16      (0)   116,312
2/25/2020   5,974   8,173       -     27,513     8,064      9,727     6,604      6,872   9,399   31,404       0       (0)     16      (0)   113,746
2/26/2020   5,952   8,167       -     27,480     8,093      9,610     6,513      6,872   9,403   31,301       0       (0)     16      (0)   113,408
2/27/2020   5,740   8,167       -     26,742     7,935      9,217     6,281      6,872   9,013   29,891       0       (0)     16      (0)   109,873
2/28/2020   5,467   4,357     3,280   27,334     7,658     16,471     8,747      6,537   8,682   20,747       0       (0)     16      (0)   109,295
3/2/2020    5,650   4,354     3,275   27,764     7,769     17,101     8,981      6,537   9,039   21,722       0       (0)     16      (0)   112,207




                                                                                                                                                      Page 1 of 2
 Marilyn J. Mosby, Nationwide Account #11722919                                                                                                              Exhibit B
 Summary of Daily Account Value



                                                                                   Nationwide                                                    Portfolio
 Ticker   BMIDX       DODIX     FXNAX     IHOTX      JEMSX     LSVEX     BRSUX     Fixed Fund    TRLGX     VFTNX CHCYX   HRINX GOBFX   VASVX      Value
3/3/2020    5,529      4,375      3,299    27,575      7,673    16,549     8,768         6,537     8,770    21,075   0       (0)  16       (0)     110,166
3/4/2020    5,733      4,375      3,293    28,298      7,889    17,122     9,010         6,537     9,136    21,958   0       (0)  16       (0)     113,367
3/5/2020    5,592      4,414      3,332    27,883      7,831    16,541     8,736         6,582     8,898    21,361   0       (0)  16       (0)     111,186
3/6/2020    5,474      4,420      3,356    27,241      7,677    16,228     8,521         6,582     8,728    20,969   0       (0)  16       (0)     109,213
3/9/2020    5,076      4,375      3,348    25,334      7,235    14,739     7,641         6,582     8,145    19,325   0       (0)  16       (0)     101,816
3/10/2020   5,306      4,344      3,308    26,045      7,516    15,401     7,942         6,582     8,565    20,348   0       (0)  16       (0)     105,373
3/11/2020   5,030      4,320      3,289    24,918      7,213    14,511     7,491         6,582     8,131    19,356   0       (0)  15       (0)     100,855
3/12/2020   4,572      4,268      3,259    22,299      6,581    13,029     6,711         6,582     7,360    17,506   0       (0)  15       (0)      92,183
3/13/2020   4,887      4,283      3,266    23,805      7,058    14,353     7,250         6,627     8,036    19,364   0       (0)  15       (0)      98,943
3/16/2020   4,244      4,270      3,301    21,305      6,320    12,637     6,190         6,627     7,015    16,887   0       (0)  15       (0)      88,811
3/17/2020   4,392      4,218      3,242    21,987      6,567    13,190     6,428         6,627     7,344    17,855   0       (0)  14       (0)      91,864
3/18/2020   4,029      4,126      3,188    20,763      6,096    12,278     5,721         6,627     6,986    16,855   0       (0)  14       (0)      86,683
3/19/2020   4,130      4,065      3,163    20,816      6,020    12,450     6,147         6,627     7,159    17,022   0       (0)  13       (0)      87,612
3/20/2020   4,309      3,432      2,581    21,545      6,033    12,978     6,894         5,140     6,843    16,272   0       (0)  14       (0)      86,040
3/20/2020   4,309      3,432      2,581    21,545      6,033    12,978     6,894         5,140     6,843    16,353   0       (0)  14       (0)      86,122
3/23/2020   4,208      3,443      2,605    21,186      5,832    12,442     6,728         5,140     6,769    15,965   0       (0)  13       (0)      84,330
3/24/2020   4,603      3,468      2,613    22,892      6,230    13,670     7,386         5,140     7,388    17,404   0       (0)  14       (0)      90,807
3/25/2020   4,727      3,510      2,629    23,789      6,441    13,996     7,611         5,140     7,472    17,530   0       (0)  14       (0)      92,858
3/26/2020   4,997      3,546      2,644    24,867      6,729    14,928     8,120         5,140     7,874    18,612   0       (0)  14       (0)      97,471
3/27/2020   4,870      3,597      2,690    24,138      6,455    14,497     7,888         5,185     7,612    18,134   0       (0)  15       (0)      95,081
3/30/2020   4,990      3,610      2,690    24,356      6,452    14,842     8,048         5,185     7,874    18,770   0       (0)  14       (0)      96,831
3/31/2020   4,925      3,634      2,701    24,175      6,465    14,575     7,981         5,185     7,835    18,463   0       (0)  15       (0)      95,953

Source:
[1] Units owned each day are sourced from USA-010621-627 and USA-010675-681. See Exhibit B.1.
[2] Daily Prices are sourced from Yahoo Finance. See Exhibit B.1.




                                                                                                                                                             Page 2 of 2
Marilyn J. Mosby, Nationwide Account #11722919                                                                                                       Exhibit B.1
Daily Market Value

   Fund Name                                   BrwnAdv MidCap Gr Inv                                          DodgeCox Inc
   Ticker                                            BMIDX                                                      DODIX
   Beginning Value               $      -                                                 $   4,478.86
   Price Per Share                                                                        $      14.08
   Beginning Units                      -                                                       318.10
                                 Units Added   Cumulative     Per Share                   Units Added     Cumulative     Per Share
             Date                    [1]         Units        Value [2]    Market Value       [1]           Units        Value [2]    Market Value
                      1/1/2020                         -    $        -     $       -                         318.10    $      14.08   $ 4,478.86
                      1/2/2020                         -           13.88           -                         318.10           14.05      4,469.32
                      1/3/2020                         -           13.83           -             2.13        320.23           14.08      4,508.86
                      1/6/2020                         -           13.87           -                         320.23           14.07      4,505.66
                      1/7/2020                         -           13.91           -                         320.23           14.06      4,502.46
                      1/9/2020                         -           14.10           -                         320.23           14.07      4,505.66
                     1/10/2020                         -           14.08           -             (0.41)      319.82           14.09      4,506.26
                     1/13/2020                         -           14.20           -                         319.82           14.09      4,506.26
                     1/14/2020                         -           14.23           -                         319.82           14.10      4,509.46
                     1/15/2020                         -           14.26           -                         319.82           14.12      4,515.86
                     1/16/2020                         -           14.43           -                         319.82           14.12      4,515.86
                     1/17/2020                         -           14.46           -             2.12        321.94           14.12      4,545.86
                     1/21/2020                         -           14.41           -                         321.94           14.15      4,555.52
                     1/22/2020                         -           14.42           -                         321.94           14.16      4,558.73
                     1/23/2020                         -           14.41           -                         321.94           14.17      4,561.95
                     1/24/2020                         -           14.32           -                         321.94           14.19      4,568.39
                     1/27/2020                         -           14.18           -                         321.94           14.21      4,574.83
                     1/28/2020                         -           14.27           -                         321.94           14.20      4,571.61
                     1/29/2020                         -           14.26           -                         321.94           14.23      4,581.27
                     1/30/2020                         -           14.22           -                         321.94           14.22      4,578.05
                     1/31/2020                         -           13.98           -             2.11        324.05           14.25      4,617.71
                      2/3/2020                         -           14.09           -                         324.05           14.25      4,617.71
                      2/4/2020                         -           14.32           -                         324.05           14.22      4,607.99
                      2/5/2020                         -           14.39           -                         324.05           14.21      4,604.75
                      2/6/2020                         -           14.46           -                         324.05           14.22      4,607.99
                      2/7/2020                         -           14.35           -                         324.05           14.25      4,617.71
                     2/10/2020                         -           14.39           -                         324.05           14.27      4,624.19
                     2/11/2020                         -           14.46           -                         324.05           14.26      4,620.95
                     2/12/2020                         -           14.54           -                         324.05           14.26      4,620.95
                     2/13/2020                         -           14.59           -                         324.05           14.26      4,620.95
                     2/14/2020                         -           14.74           -             2.10        326.15           14.28      4,657.43
                     2/18/2020       433.18       433.18           14.79      6,406.79         243.40        569.55           14.29      8,138.91
                     2/19/2020                    433.18           14.85      6,432.78                       569.55           14.29      8,138.91
                     2/20/2020                    433.18           14.81      6,415.45                       569.55           14.31      8,150.30



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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                    Exhibit B.1
Daily Market Value

   Fund Name                                    BrwnAdv MidCap Gr Inv                                        DodgeCox Inc
   Ticker                                             BMIDX                                                    DODIX
   Beginning Value               $       -                                               $   4,478.86
   Price Per Share                                                                       $      14.08
   Beginning Units                       -                                                     318.10
                                 Units Added    Cumulative   Per Share                   Units Added     Cumulative   Per Share
             Date                    [1]          Units      Value [2]    Market Value       [1]           Units      Value [2]    Market Value
                     2/21/2020                     433.18         14.63      6,337.48                       569.55         14.33      8,161.69
                     2/24/2020                     433.18         14.24      6,168.54                       569.55         14.35      8,173.08
                     2/25/2020                     433.18         13.79      5,973.60                       569.55         14.35      8,173.08
                     2/26/2020                     433.18         13.74      5,951.94                       569.55         14.34      8,167.39
                     2/27/2020                     433.18         13.25      5,739.68                       569.55         14.34      8,167.39
                     2/28/2020        (16.51)      416.67         13.12      5,466.71        (266.56)       302.99         14.38      4,357.06
                      3/2/2020                     416.67         13.56      5,650.04                       302.99         14.37      4,354.03
                      3/3/2020                     416.67         13.27      5,529.21                       302.99         14.44      4,375.24
                      3/4/2020                     416.67         13.76      5,733.38                       302.99         14.44      4,375.24
                      3/5/2020          2.81       419.48         13.33      5,591.71           2.07        305.07         14.47      4,414.33
                      3/6/2020                     419.48         13.05      5,474.25                       305.07         14.49      4,420.43
                      3/9/2020                     419.48         12.10      5,075.74                       305.07         14.34      4,374.67
                     3/10/2020                     419.48         12.65      5,306.46                       305.07         14.24      4,344.16
                     3/11/2020                     419.48         11.99      5,029.60                       305.07         14.16      4,319.76
                     3/12/2020                     419.48         10.90      4,572.36                       305.07         13.99      4,267.90
                     3/13/2020         3.24        422.73         11.56      4,886.72           2.15        307.22         13.94      4,282.64
                     3/16/2020                     422.73         10.04      4,244.18                       307.22         13.90      4,270.36
                     3/17/2020                     422.73         10.39      4,392.13                       307.22         13.73      4,218.13
                     3/18/2020                     422.73          9.53      4,028.59                       307.22         13.43      4,125.96
                     3/19/2020                     422.73          9.77      4,130.04                       307.22         13.23      4,064.52
                     3/20/2020        36.17        458.89          9.39      4,309.01          (48.58)      258.64         13.27      3,432.16
                     3/20/2020                     458.89          9.39      4,309.01                       258.64         13.27      3,432.16
                     3/23/2020                     458.89          9.17      4,208.05                       258.64         13.31      3,442.50
                     3/24/2020                     458.89         10.03      4,602.70                       258.64         13.41      3,468.37
                     3/25/2020                     458.89         10.30      4,726.60                       258.64         13.57      3,509.75
                     3/26/2020                     458.89         10.89      4,997.34           2.49        261.13         13.58      3,546.11
                     3/27/2020         3.56        462.45         10.53      4,869.64           2.20        263.32         13.66      3,597.00
                     3/30/2020                     462.45         10.79      4,989.88                       263.32         13.71      3,610.16
                     3/31/2020                     462.45         10.65      4,925.14                       263.32         13.80      3,633.86




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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                 Exhibit B.1
Daily Market Value

   Fund Name                                                     Fid US Bd Indx                                      Hartford Intl Oppr R5
   Ticker                                                            FXNAX                                                  IHOTX
   Beginning Value               $      -      $      -                                              $        -
   Price Per Share                             $    11.18                                            $      15.43
   Beginning Units                      -             -                                                       -
                                 Units Added   Units Added   Cumulative     Per Share                               Cumulative     Per Share
             Date                    [1]           [1]         Units        Value [2]    Market Value Units Added     Units        Value [2]    Market Value
                      1/1/2020                                       -    $      11.18   $       -                          -    $      15.43   $       -
                      1/2/2020                                       -           11.95           -                          -           17.36           -
                      1/3/2020                                       -           11.99           -                          -           17.21           -
                      1/6/2020                                       -           11.97           -                          -           17.21           -
                      1/7/2020                                       -           11.96           -                          -           17.20           -
                      1/9/2020                                       -           11.95           -                          -           17.31           -
                     1/10/2020                                       -           11.97           -                          -           17.29           -
                     1/13/2020                                       -           11.96           -                          -           17.44           -
                     1/14/2020                                       -           11.97           -                          -           17.42           -
                     1/15/2020                                       -           11.99           -                          -           17.40           -
                     1/16/2020                                       -           11.98           -                          -           17.49           -
                     1/17/2020                                       -           11.97           -                          -           17.57           -
                     1/21/2020                                       -           12.00           -                          -           17.38           -
                     1/22/2020                                       -           12.01           -                          -           17.47           -
                     1/23/2020                                       -           12.03           -                          -           17.41           -
                     1/24/2020                                       -           12.05           -                          -           17.30           -
                     1/27/2020                                       -           12.09           -                          -           16.91           -
                     1/28/2020                                       -           12.07           -                          -           17.07           -
                     1/29/2020                                       -           12.10           -                          -           17.09           -
                     1/30/2020                                       -           12.10           -                          -           17.02           -
                     1/31/2020                                       -           12.13           -                          -           16.72           -
                      2/3/2020                                       -           12.13           -                          -           16.87           -
                      2/4/2020                                       -           12.09           -                          -           17.19           -
                      2/5/2020                                       -           12.06           -                          -           17.36           -
                      2/6/2020                                       -           12.07           -                          -           17.43           -
                      2/7/2020                                       -           12.11           -                          -           17.29           -
                     2/10/2020                                       -           12.12           -                          -           17.33           -
                     2/11/2020                                       -           12.10           -                          -           17.44           -
                     2/12/2020                                       -           12.09           -                          -           17.58           -
                     2/13/2020                                       -           12.10           -                          -           17.45           -
                     2/14/2020                                       -           12.11           -                          -           17.45           -
                     2/18/2020       433.18           -              -           12.13           -       1,676.61     1,676.61          17.37     29,122.65
                     2/19/2020                                       -           12.12           -                    1,676.61          17.48     29,307.07
                     2/20/2020                                       -           12.15           -                    1,676.61          17.32     29,038.82



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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                Exhibit B.1
Daily Market Value

   Fund Name                                                       Fid US Bd Indx                                    Hartford Intl Oppr R5
   Ticker                                                              FXNAX                                                IHOTX
   Beginning Value               $       -      $      -                                             $        -
   Price Per Share                              $    11.18                                           $      15.43
   Beginning Units                       -             -                                                      -
                                 Units Added    Units Added    Cumulative   Per Share                               Cumulative    Per Share
             Date                    [1]            [1]          Units      Value [2]    Market Value Units Added     Units       Value [2]    Market Value
                     2/21/2020                                         -         12.17           -                    1,676.61         17.24     28,904.69
                     2/24/2020                                         -         12.22           -                    1,676.61         16.64     27,898.72
                     2/25/2020                                         -         12.23           -                    1,676.61         16.41     27,513.11
                     2/26/2020                                         -         12.22           -                    1,676.61         16.39     27,479.57
                     2/27/2020                                         -         12.24           -                    1,676.61         15.95     26,741.87
                     2/28/2020        (16.51)       266.24        266.24         12.32      3,280.03        45.73     1,722.34         15.87     27,333.54
                      3/2/2020                                    266.24         12.30      3,274.70                  1,722.34         16.12     27,764.13
                      3/3/2020                                    266.24         12.39      3,298.66                  1,722.34         16.01     27,574.67
                      3/4/2020                                    266.24         12.37      3,293.34                  1,722.34         16.43     28,298.05
                      3/5/2020          2.81          1.81        268.05         12.43      3,331.81        11.66     1,734.00         16.08     27,882.73
                      3/6/2020                                    268.05         12.52      3,355.93                  1,734.00         15.71     27,241.15
                      3/9/2020                                    268.05         12.49      3,347.89                  1,734.00         14.61     25,333.75
                     3/10/2020                                    268.05         12.34      3,307.69                  1,734.00         15.02     26,044.69
                     3/11/2020                                    268.05         12.27      3,288.92                  1,734.00         14.37     24,917.59
                     3/12/2020                                    268.05         12.16      3,259.44                  1,734.00         12.86     22,299.25
                     3/13/2020         3.24           1.86        269.91         12.10      3,265.86        13.77     1,747.77         13.62     23,804.59
                     3/16/2020                                    269.91         12.23      3,300.94                  1,747.77         12.19     21,305.28
                     3/17/2020                                    269.91         12.01      3,241.56                  1,747.77         12.58     21,986.91
                     3/18/2020                                    269.91         11.81      3,187.58                  1,747.77         11.88     20,763.47
                     3/19/2020                                    269.91         11.72      3,163.29                  1,747.77         11.91     20,815.91
                     3/20/2020        36.17          (52.12)      217.79         11.85      2,580.80        47.65     1,795.42         12.00     21,545.04
                     3/20/2020                                    217.79         11.85      2,580.80                  1,795.42         12.00     21,545.04
                     3/23/2020                                    217.79         11.96      2,604.76                  1,795.42         11.80     21,185.95
                     3/24/2020                                    217.79         12.00      2,613.47                  1,795.42         12.75     22,891.60
                     3/25/2020                                    217.79         12.07      2,628.72                  1,795.42         13.25     23,789.31
                     3/26/2020                                    217.79         12.14      2,643.96                  1,795.42         13.85     24,866.56
                     3/27/2020         3.56           1.84        219.63         12.25      2,690.42        14.06     1,809.48         13.34     24,138.40
                     3/30/2020                                    219.63         12.25      2,690.42                  1,809.48         13.46     24,355.54
                     3/31/2020                        0.52        220.14         12.27      2,701.16                  1,809.48         13.36     24,174.59




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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                       Exhibit B.1
Daily Market Value

   Fund Name                                                     JPM Emg Mkt Eq I                                            LSV Val Eq Inst
   Ticker                                                            JEMSX                                                      LSVEX
   Beginning Value               $      -      $   8,243.13                                               $ 10,366.22
   Price Per Share                             $      32.48                                               $     27.25
   Beginning Units                      -            253.79                                                    380.41
                                 Units Added   Units Added     Cumulative     Per Share                   Units Added     Cumulative     Per Share
             Date                    [1]           [1]           Units        Value [2]    Market Value       [1]           Units        Value [2]    Market Value
                      1/1/2020                                    253.79    $      32.48   $ 8,243.13            (0.05)      380.36    $      27.25   $ 10,364.76
                      1/2/2020                                    253.79           33.14      8,410.63                       380.36           27.58     10,490.27
                      1/3/2020                        1.60        255.39           32.76      8,366.69           2.48        382.84           27.25     10,432.26
                      1/6/2020                                    255.39           32.52      8,305.40                       382.84           27.19     10,409.29
                      1/7/2020                                    255.39           32.74      8,361.59                       382.84           27.13     10,386.32
                      1/9/2020                                    255.39           33.29      8,502.05                       382.84           27.29     10,447.57
                     1/10/2020                        (0.33)      255.07           33.29      8,491.16           (0.49)      382.35           27.17     10,388.41
                     1/13/2020                                    255.07           33.75      8,608.49                       382.35           27.32     10,445.76
                     1/14/2020                                    255.07           33.59      8,567.68                       382.35           27.44     10,491.64
                     1/15/2020                                    255.07           33.45      8,531.97                       382.35           27.32     10,445.76
                     1/16/2020                                    255.07           33.67      8,588.09                       382.35           27.53     10,526.06
                     1/17/2020                        1.56        256.62           33.76      8,663.54           2.45        384.80           27.58     10,612.67
                     1/21/2020                                    256.62           33.00      8,468.51                       384.80           27.32     10,512.63
                     1/22/2020                                    256.62           33.22      8,524.97                       384.80           27.33     10,516.47
                     1/23/2020                                    256.62           32.97      8,460.81                       384.80           27.37     10,531.87
                     1/24/2020                                    256.62           32.73      8,399.22                       384.80           26.98     10,381.79
                     1/27/2020                                    256.62           31.89      8,183.66                       384.80           26.50     10,197.09
                     1/28/2020                                    256.62           32.29      8,286.31                       384.80           26.74     10,289.44
                     1/29/2020                                    256.62           32.37      8,306.84                       384.80           26.58     10,227.88
                     1/30/2020                                    256.62           32.00      8,211.89                       384.80           26.65     10,254.81
                     1/31/2020                        1.67        258.29           31.42      8,115.55           2.59        387.39           26.07     10,099.13
                      2/3/2020                                    258.29           31.66      8,177.54                       387.39           26.22     10,157.24
                      2/4/2020                                    258.29           32.46      8,384.17                       387.39           26.62     10,312.19
                      2/5/2020                                    258.29           32.46      8,384.17                       387.39           27.21     10,540.75
                      2/6/2020                                    258.29           32.58      8,415.17                       387.39           27.09     10,494.26
                      2/7/2020                                    258.29           32.16      8,306.69                       387.39           26.88     10,412.91
                     2/10/2020                                    258.29           32.26      8,332.51                       387.39           26.96     10,443.90
                     2/11/2020                                    258.29           32.54      8,404.84                       387.39           27.16     10,521.38
                     2/12/2020                                    258.29           33.01      8,526.23                       387.39           27.30     10,575.61
                     2/13/2020                                    258.29           32.82      8,477.16                       387.39           27.19     10,533.00
                     2/14/2020                        1.60        259.89           32.80      8,524.49           2.49        389.88           27.08     10,557.89
                     2/18/2020       433.18                       259.89           32.50      8,446.52                       389.88           26.87     10,476.02
                     2/19/2020                                    259.89           32.82      8,529.69                       389.88           26.96     10,511.10
                     2/20/2020                                    259.89           32.51      8,449.12                       389.88           27.01     10,530.60



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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                  Exhibit B.1
Daily Market Value

   Fund Name                                                      JPM Emg Mkt Eq I                                        LSV Val Eq Inst
   Ticker                                                             JEMSX                                                  LSVEX
   Beginning Value               $       -      $   8,243.13                                             $ 10,366.22
   Price Per Share                              $      32.48                                             $     27.25
   Beginning Units                       -            253.79                                                  380.41
                                 Units Added    Units Added     Cumulative   Per Share                   Units Added   Cumulative   Per Share
             Date                    [1]            [1]           Units      Value [2]    Market Value       [1]         Units      Value [2]    Market Value
                     2/21/2020                                     259.89         32.28      8,389.35                     389.88         26.79     10,444.83
                     2/24/2020                                     259.89         31.27      8,126.86                     389.88         25.90     10,097.83
                     2/25/2020                                     259.89         31.03      8,064.48                     389.88         24.95      9,727.45
                     2/26/2020                                     259.89         31.14      8,093.07                     389.88         24.65      9,610.49
                     2/27/2020                                     259.89         30.53      7,934.54                     389.88         23.64      9,216.71
                     2/28/2020        (16.51)          (9.04)      250.85         30.53      7,658.41         317.64      707.52         23.28     16,471.05
                      3/2/2020                                     250.85         30.97      7,768.78                     707.52         24.17     17,100.74
                      3/3/2020                                     250.85         30.59      7,673.46                     707.52         23.39     16,548.87
                      3/4/2020                                     250.85         31.45      7,889.19                     707.52         24.20     17,121.97
                      3/5/2020          2.81           1.69        252.54         31.01      7,831.31           4.85      712.36         23.22     16,541.10
                      3/6/2020                                     252.54         30.40      7,677.26                     712.36         22.78     16,227.66
                      3/9/2020                                     252.54         28.65      7,235.32                     712.36         20.69     14,738.82
                     3/10/2020                                     252.54         29.76      7,515.64                     712.36         21.62     15,401.32
                     3/11/2020                                     252.54         28.56      7,212.59                     712.36         20.37     14,510.86
                     3/12/2020                                     252.54         26.06      6,581.23                     712.36         18.29     13,029.14
                     3/13/2020         3.24            1.89        254.43         27.74      7,058.00           5.63      717.99         19.99     14,352.66
                     3/16/2020                                     254.43         24.84      6,320.14                     717.99         17.60     12,636.66
                     3/17/2020                                     254.43         25.81      6,566.95                     717.99         18.37     13,189.51
                     3/18/2020                                     254.43         23.96      6,096.24                     717.99         17.10     12,277.66
                     3/19/2020                                     254.43         23.66      6,019.91                     717.99         17.34     12,449.98
                     3/20/2020        36.17            (1.07)      253.36         23.81      6,032.61          59.13      777.12         16.70     12,977.90
                     3/20/2020                                     253.36         23.81      6,032.61                     777.12         16.70     12,977.90
                     3/23/2020                                     253.36         23.02      5,832.45                     777.12         16.01     12,441.69
                     3/24/2020                                     253.36         24.59      6,230.23                     777.12         17.59     13,669.54
                     3/25/2020                                     253.36         25.42      6,440.52                     777.12         18.01     13,995.93
                     3/26/2020                                     253.36         26.56      6,729.36                     777.12         19.21     14,928.47
                     3/27/2020         3.56            2.08        255.44         25.27      6,455.02           6.08      783.20         18.51     14,496.99
                     3/30/2020                                     255.44         25.26      6,452.47                     783.20         18.95     14,841.60
                     3/31/2020                                     255.44         25.31      6,465.24                     783.20         18.61     14,575.31




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Marilyn J. Mosby, Nationwide Account #11722919                                                                                          Exhibit B.1
Daily Market Value

   Fund Name                                                MFS Bldn Rsrch SmCap Eq R4                     Nationwide Fixed Fund
   Ticker                                                             BRSUX
   Beginning Value               $      -      $      -                                                $   6,700.68
   Price Per Share                             $    12.52
   Beginning Units                      -             -                                                        -
                                 Units Added   Units Added    Cumulative     Per Share                               Cumalative Value
             Date                    [1]           [1]          Units        Value [2]    Market Value $ Added [1]         [1]
                      1/1/2020                                        -    $      12.52   $       -    $       -    $        6,700.68
                      1/2/2020                                        -           14.32           -                          6,700.68
                      1/3/2020                                        -           14.27           -         45.00            6,745.68
                      1/6/2020                                        -           14.29           -                          6,745.68
                      1/7/2020                                        -           14.22           -                          6,745.68
                      1/9/2020                                        -           14.25           -                          6,745.68
                     1/10/2020                                        -           14.19           -          (8.64)          6,737.04
                     1/13/2020                                        -           14.27           -                          6,737.04
                     1/14/2020                                        -           14.29           -                          6,737.04
                     1/15/2020                                        -           14.33           -                          6,737.04
                     1/16/2020                                        -           14.48           -                          6,737.04
                     1/17/2020                                        -           14.46           -         45.00            6,782.04
                     1/21/2020                                        -           14.32           -                          6,782.04
                     1/22/2020                                        -           14.29           -                          6,782.04
                     1/23/2020                                        -           14.28           -                          6,782.04
                     1/24/2020                                        -           14.07           -                          6,782.04
                     1/27/2020                                        -           13.86           -                          6,782.04
                     1/28/2020                                        -           14.00           -                          6,782.04
                     1/29/2020                                        -           13.90           -                          6,782.04
                     1/30/2020                                        -           13.88           -                          6,782.04
                     1/31/2020                                        -           13.59           -         45.00            6,827.04
                      2/3/2020                                        -           13.68           -                          6,827.04
                      2/4/2020                                        -           13.83           -                          6,827.04
                      2/5/2020                                        -           14.03           -                          6,827.04
                      2/6/2020                                        -           13.94           -                          6,827.04
                      2/7/2020                                        -           13.81           -                          6,827.04
                     2/10/2020                                        -           13.88           -                          6,827.04
                     2/11/2020                                        -           14.04           -                          6,827.04
                     2/12/2020                                        -           14.13           -                          6,827.04
                     2/13/2020                                        -           14.19           -                          6,827.04
                     2/14/2020                                        -           14.13           -         45.00            6,872.04
                     2/18/2020       433.18        504.52        504.52           14.09      7,108.64                        6,872.04
                     2/19/2020                                   504.52           14.17      7,149.00                        6,872.04
                     2/20/2020                                   504.52           14.19      7,159.09                        6,872.04



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Marilyn J. Mosby, Nationwide Account #11722919                                                                                            Exhibit B.1
Daily Market Value

   Fund Name                                                 MFS Bldn Rsrch SmCap Eq R4                      Nationwide Fixed Fund
   Ticker                                                              BRSUX
   Beginning Value               $       -      $      -                                                $   6,700.68
   Price Per Share                              $    12.52
   Beginning Units                       -             -                                                         -
                                 Units Added    Units Added    Cumulative   Per Share                                  Cumalative Value
             Date                    [1]            [1]          Units      Value [2]    Market Value   $ Added [1]          [1]
                     2/21/2020                                    504.52         14.04      7,083.42                           6,872.04
                     2/24/2020                                    504.52         13.62      6,871.52                           6,872.04
                     2/25/2020                                    504.52         13.09      6,604.13                           6,872.04
                     2/26/2020                                    504.52         12.91      6,513.31                           6,872.04
                     2/27/2020                                    504.52         12.45      6,281.24                           6,872.04
                     2/28/2020        (16.51)       206.02        710.54         12.31      8,746.73          (335.13)         6,536.91
                      3/2/2020                                    710.54         12.64      8,981.21                           6,536.91
                      3/3/2020                                    710.54         12.34      8,768.05                           6,536.91
                      3/4/2020                                    710.54         12.68      9,009.63                           6,536.91
                      3/5/2020          2.81          4.91        715.45         12.21      8,735.68            45.00          6,581.91
                      3/6/2020                                    715.45         11.91      8,521.04                           6,581.91
                      3/9/2020                                    715.45         10.68      7,641.03                           6,581.91
                     3/10/2020                                    715.45         11.10      7,941.52                           6,581.91
                     3/11/2020                                    715.45         10.47      7,490.79                           6,581.91
                     3/12/2020                                    715.45          9.38      6,710.95                           6,581.91
                     3/13/2020         3.24           5.98        721.43         10.05      7,250.36            45.00          6,626.91
                     3/16/2020                                    721.43          8.58      6,189.86                           6,626.91
                     3/17/2020                                    721.43          8.91      6,427.93                           6,626.91
                     3/18/2020                                    721.43          7.93      5,720.93                           6,626.91
                     3/19/2020                                    721.43          8.52      6,146.57                           6,626.91
                     3/20/2020        36.17         112.24        833.67          8.27      6,894.41        (1,487.25)         5,139.66
                     3/20/2020                                    833.67          8.27      6,894.41                           5,139.66
                     3/23/2020                                    833.67          8.07      6,727.68                           5,139.66
                     3/24/2020                                    833.67          8.86      7,386.27                           5,139.66
                     3/25/2020                                    833.67          9.13      7,611.36                           5,139.66
                     3/26/2020                                    833.67          9.74      8,119.90                           5,139.66
                     3/27/2020         3.56           6.39        840.06          9.39      7,888.12            45.00          5,184.66
                     3/30/2020                                    840.06          9.58      8,047.73                           5,184.66
                     3/31/2020                                    840.06          9.50      7,980.52                           5,184.66




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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                     Exhibit B.1
Daily Market Value

   Fund Name                                                  TRowePri Inst LgCap Gr                                    Vngrd FTSE Soc Indx Inst
   Ticker                                                           TRLGX                                                       VFTNX
   Beginning Value               $      -      $   9,245.92                                              $ 31,446.02
   Price Per Share                             $      44.49                                              $     21.92
   Beginning Units                      -            207.82                                                 1,434.58
                                 Units Added   Units Added    Cumulative     Per Share                   Units Added    Cumulative     Per Share
             Date                    [1]           [1]          Units        Value [2]    Market Value       [1]          Units        Value [2]    Market Value
                      1/1/2020                                   207.82    $      44.49   $ 9,245.92                      1,434.58   $      21.92   $ 31,446.02
                      1/2/2020                                   207.82           44.82      9,314.50                     1,434.58          22.09     31,689.90
                      1/3/2020                        1.35       209.17           44.49      9,305.92           9.24      1,443.82          21.92     31,648.52
                      1/6/2020                                   209.17           44.88      9,387.50                     1,443.82          22.00     31,764.02
                      1/7/2020                                   209.17           44.86      9,383.31                     1,443.82          21.94     31,677.40
                      1/9/2020                                   209.17           45.50      9,517.18                     1,443.82          22.26     32,139.42
                     1/10/2020                        0.27       209.44           45.45      9,519.02          (1.85)     1,441.97          22.22     32,040.53
                     1/13/2020                                   209.44           45.79      9,590.23                     1,441.97          22.39     32,285.67
                     1/14/2020                                   209.44           45.58      9,546.25                     1,441.97          22.36     32,242.41
                     1/15/2020                                   209.44           45.74      9,579.76                     1,441.97          22.40     32,300.09
                     1/16/2020                                   209.44           46.16      9,667.72                     1,441.97          22.60     32,588.48
                     1/17/2020                        1.30       210.73           46.33      9,763.33           8.89      1,450.86          22.71     32,949.03
                     1/21/2020                                   210.73           46.22      9,740.15                     1,450.86          22.64     32,847.47
                     1/22/2020                                   210.73           46.19      9,733.83                     1,450.86          22.66     32,876.49
                     1/23/2020                                   210.73           46.29      9,754.90                     1,450.86          22.70     32,934.52
                     1/24/2020                                   210.73           45.82      9,655.85                     1,450.86          22.49     32,629.84
                     1/27/2020                                   210.73           44.97      9,476.73                     1,450.86          22.11     32,078.52
                     1/28/2020                                   210.73           45.55      9,598.96                     1,450.86          22.37     32,455.74
                     1/29/2020                                   210.73           45.72      9,634.78                     1,450.86          22.36     32,441.23
                     1/30/2020                                   210.73           45.73      9,636.89                     1,450.86          22.43     32,542.79
                     1/31/2020                        1.33       212.07           45.05      9,553.59           9.23      1,460.09          21.95     32,048.88
                      2/3/2020                                   212.07           45.67      9,685.07                     1,460.09          22.20     32,413.90
                      2/4/2020                                   212.07           46.56      9,873.81                     1,460.09          22.57     32,954.13
                      2/5/2020                                   212.07           46.71      9,905.62                     1,460.09          22.79     33,275.35
                      2/6/2020                                   212.07           46.96      9,958.64                     1,460.09          22.87     33,392.16
                      2/7/2020                                   212.07           46.77      9,918.34                     1,460.09          22.73     33,187.74
                     2/10/2020                                   212.07           47.37     10,045.58                     1,460.09          22.91     33,450.56
                     2/11/2020                                   212.07           47.38     10,047.71                     1,460.09          22.94     33,494.36
                     2/12/2020                                   212.07           47.85     10,147.38                     1,460.09          23.11     33,742.58
                     2/13/2020                                   212.07           47.80     10,136.77                     1,460.09          23.08     33,698.77
                     2/14/2020                        1.25       213.32           47.97     10,232.83           8.75      1,468.83          23.15     34,003.48
                     2/18/2020       433.18                      213.32           48.11     10,262.69                     1,468.83          23.07     33,885.97
                     2/19/2020                                   213.32           48.41     10,326.68                     1,468.83          23.22     34,106.30
                     2/20/2020                                   213.32           48.08     10,256.29                     1,468.83          23.14     33,988.79



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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                    Exhibit B.1
Daily Market Value

   Fund Name                                                    TRowePri Inst LgCap Gr                                  Vngrd FTSE Soc Indx Inst
   Ticker                                                             TRLGX                                                     VFTNX
   Beginning Value               $       -      $   9,245.92                                             $ 31,446.02
   Price Per Share                              $      44.49                                             $     21.92
   Beginning Units                       -            207.82                                                1,434.58
                                 Units Added    Units Added     Cumulative   Per Share                   Units Added    Cumulative    Per Share
             Date                    [1]            [1]           Units      Value [2]    Market Value       [1]          Units       Value [2]    Market Value
                     2/21/2020                                     213.32         47.25     10,079.24                     1,468.83         22.86     33,577.52
                     2/24/2020                                     213.32         45.33      9,669.67                     1,468.83         22.07     32,417.14
                     2/25/2020                                     213.32         44.06      9,398.76                     1,468.83         21.38     31,403.64
                     2/26/2020                                     213.32         44.08      9,403.02                     1,468.83         21.31     31,300.83
                     2/27/2020                                     213.32         42.25      9,012.65                     1,468.83         20.35     29,890.75
                     2/28/2020        (16.51)          (7.98)      205.34         42.28      8,681.85        (442.29)     1,026.55         20.21     20,746.51
                      3/2/2020                                     205.34         44.02      9,039.15                     1,026.55         21.16     21,721.73
                      3/3/2020                                     205.34         42.71      8,770.15                     1,026.55         20.53     21,075.00
                      3/4/2020                                     205.34         44.49      9,135.66                     1,026.55         21.39     21,957.83
                      3/5/2020          2.81           1.39        206.74         43.04      8,897.91           6.89      1,033.44         20.67     21,361.22
                      3/6/2020                                     206.74         42.22      8,728.39                     1,033.44         20.29     20,968.51
                      3/9/2020                                     206.74         39.40      8,145.39                     1,033.44         18.70     19,325.34
                     3/10/2020                                     206.74         41.43      8,565.07                     1,033.44         19.69     20,348.45
                     3/11/2020                                     206.74         39.33      8,130.92                     1,033.44         18.73     19,356.34
                     3/12/2020                                     206.74         35.60      7,359.80                     1,033.44         16.94     17,506.49
                     3/13/2020         3.24            1.56        208.29         38.58      8,035.87           7.66      1,041.10         18.60     19,364.50
                     3/16/2020                                     208.29         33.68      7,015.24                     1,041.10         16.22     16,886.67
                     3/17/2020                                     208.29         35.26      7,344.34                     1,041.10         17.15     17,854.90
                     3/18/2020                                     208.29         33.54      6,986.08                     1,041.10         16.19     16,855.44
                     3/19/2020                                     208.29         34.37      7,158.96                     1,041.10         16.35     17,022.02
                     3/20/2020        36.17            (3.41)      204.88         33.40      6,843.16           3.96      1,045.06         15.57     16,271.61
                     3/20/2020                                     204.88         33.40      6,843.16           5.26      1,050.32         15.57     16,353.44
                     3/23/2020                                     204.88         33.04      6,769.40                     1,050.32         15.20     15,964.82
                     3/24/2020                                     204.88         36.06      7,388.15                     1,050.32         16.57     17,403.76
                     3/25/2020                                     204.88         36.47      7,472.15                     1,050.32         16.69     17,529.79
                     3/26/2020                                     204.88         38.43      7,873.73                     1,050.32         17.72     18,611.62
                     3/27/2020         3.56            1.63        206.51         36.86      7,612.06           8.32      1,058.64         17.13     18,134.43
                     3/30/2020                                     206.51         38.13      7,874.33                     1,058.64         17.73     18,769.61
                     3/31/2020                                     206.51         37.94      7,835.09                     1,058.64         17.44     18,462.61




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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                      Exhibit B.1
Daily Market Value

   Fund Name                                                      AB Disc Gr Adv                                             Harbor Intl Admin
   Ticker                                                            CHCYX                                                       HRINX
   Beginning Value               $      -      $   5,708.43                                               $   28,947.15
   Price Per Share                             $      11.55                                               $       40.31
   Beginning Units                      -            494.24                                                      718.11
                                 Units Added   Units Added     Cumulative     Per Share                   Units Added      Cumulative  Per Share
             Date                    [1]           [1]           Units        Value [2]    Market Value       [1]            Units     Value [2]    Market Value
                      1/1/2020                                    494.24    $      11.55   $ 5,708.43                         718.11 $      40.31   $ 28,947.15
                      1/2/2020                                    494.24           11.68      5,772.68                        718.11        40.58     29,141.04
                      1/3/2020                        3.23        497.47           11.61      5,775.58             4.66       722.78        40.20     29,055.66
                      1/6/2020                                    497.47           11.68      5,810.41                        722.78        40.26     29,099.02
                      1/7/2020                                    497.47           11.71      5,825.33                        722.78        40.16     29,026.75
                      1/9/2020                                    497.47           11.86      5,899.95                        722.78        40.28     29,113.48
                     1/10/2020                        (0.64)      496.83           11.84      5,882.46            (0.93)      721.85        40.15     28,982.35
                     1/13/2020                                    496.83           11.96      5,942.08                        721.85        40.33     29,112.28
                     1/14/2020                                    496.83           12.00      5,961.95                        721.85        40.37     29,141.16
                     1/15/2020                                    496.83           12.02      5,971.89                        721.85        40.40     29,162.81
                     1/16/2020                                    496.83           12.15      6,036.48                        721.85        40.48     29,220.56
                     1/17/2020                        3.09        499.92           12.15      6,073.98             4.62       726.47        40.58     29,480.25
                     1/21/2020                                    499.92           12.15      6,073.98                        726.47        40.37     29,327.68
                     1/22/2020                                    499.92           12.15      6,073.98                        726.47        40.48     29,407.60
                     1/23/2020                                    499.92           12.17      6,083.98                        726.47        40.33     29,298.63
                     1/24/2020                                    499.92           12.06      6,028.99                        726.47        40.25     29,240.51
                     1/27/2020                                    499.92           11.90      5,949.00                        726.47        39.53     28,717.45
                     1/28/2020                                    499.92           12.06      6,028.99                        726.47        39.76     28,884.54
                     1/29/2020                                    499.92           12.07      6,033.99                        726.47        39.69     28,833.68
                     1/30/2020                                    499.92           12.02      6,008.99                        726.47        39.62     28,782.83
                     1/31/2020                        3.18        503.10           11.79      5,931.51             4.81       731.28        39.02     28,534.45
                      2/3/2020                                    503.10           11.93      6,001.94                        731.28        39.08     28,578.33
                      2/4/2020                                    503.10           12.21      6,142.81                        731.28        39.64     28,987.84
                      2/5/2020                                    503.10           12.19      6,132.75                        731.28        40.07     29,302.29
                      2/6/2020                                    503.10           12.24      6,157.90                        731.28        40.16     29,368.10
                      2/7/2020                                    503.10           12.17      6,122.69                        731.28        39.80     29,104.84
                     2/10/2020                                    503.10           12.33      6,203.18                        731.28        39.84     29,134.09
                     2/11/2020                                    503.10           12.40      6,238.40                        731.28        40.16     29,368.10
                     2/12/2020                                    503.10           12.55      6,313.86                        731.28        40.20     29,397.36
                     2/13/2020                                    503.10           12.60      6,339.02                        731.28        39.97     29,229.16
                     2/14/2020                        2.97        506.07           12.63      6,391.61             4.70       735.98        39.89     29,358.16
                     2/18/2020       433.18        (506.07)          0.00          12.66          0.00          (735.98)        (0.00)      39.57          (0.01)
                     2/19/2020                                       0.00          12.77          0.00                          (0.00)      39.71          (0.01)
                     2/20/2020                                       0.00          12.70          0.00                          (0.00)      39.51          (0.01)



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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                     Exhibit B.1
Daily Market Value

   Fund Name                                                      AB Disc Gr Adv                                          Harbor Intl Admin
   Ticker                                                            CHCYX                                                    HRINX
   Beginning Value               $       -      $   5,708.43                                            $   28,947.15
   Price Per Share                              $      11.55                                            $       40.31
   Beginning Units                       -            494.24                                                   718.11
                                 Units Added    Units Added    Cumulative   Per Share                   Units Added     Cumulative    Per Share
             Date                    [1]            [1]          Units      Value [2]    Market Value       [1]           Units       Value [2]    Market Value
                     2/21/2020                                       0.00        12.53          0.00                         (0.00)        39.37          (0.01)
                     2/24/2020                                       0.00        12.15          0.00                         (0.00)        37.87          (0.00)
                     2/25/2020                                       0.00        11.80          0.00                         (0.00)        37.26          (0.00)
                     2/26/2020                                       0.00        11.74          0.00                         (0.00)        37.26          (0.00)
                     2/27/2020                                       0.00        11.34          0.00                         (0.00)        36.11          (0.00)
                     2/28/2020        (16.51)           -            0.00        11.34          0.00              -          (0.00)        35.96          (0.00)
                      3/2/2020                                       0.00        11.62          0.00                         (0.00)        36.35          (0.00)
                      3/3/2020                                       0.00        11.35          0.00                         (0.00)        36.04          (0.00)
                      3/4/2020                                       0.00        11.77          0.00                         (0.00)        36.95          (0.00)
                      3/5/2020          2.81            -            0.00        11.48          0.00              -          (0.00)        36.14          (0.00)
                      3/6/2020                                       0.00        11.20          0.00                         (0.00)        35.61          (0.00)
                      3/9/2020                                       0.00        10.31          0.00                         (0.00)        33.07          (0.00)
                     3/10/2020                                       0.00        10.74          0.00                         (0.00)        33.87          (0.00)
                     3/11/2020                                       0.00        10.11          0.00                         (0.00)        32.32          (0.00)
                     3/12/2020                                       0.00         9.23          0.00                         (0.00)        29.03          (0.00)
                     3/13/2020         3.24             -            0.00         9.81          0.00              -          (0.00)        30.21          (0.00)
                     3/16/2020                                       0.00         8.36          0.00                         (0.00)        27.37          (0.00)
                     3/17/2020                                       0.00         8.82          0.00                         (0.00)        28.14          (0.00)
                     3/18/2020                                       0.00         8.26          0.00                         (0.00)        26.69          (0.00)
                     3/19/2020                                       0.00         8.64          0.00                         (0.00)        26.98          (0.00)
                     3/20/2020        36.17             -            0.00         8.43          0.00              -          (0.00)        26.93          (0.00)
                     3/20/2020                                       0.00         8.43          0.00                         (0.00)        26.93          (0.00)
                     3/23/2020                                       0.00         8.42          0.00                         (0.00)        26.32          (0.00)
                     3/24/2020                                       0.00         9.28          0.00                         (0.00)        28.25          (0.00)
                     3/25/2020                                       0.00         9.40          0.00                         (0.00)        29.13          (0.00)
                     3/26/2020                                       0.00         9.95          0.00                         (0.00)        30.74          (0.00)
                     3/27/2020         3.56                          0.00         9.65          0.00                         (0.00)        30.06          (0.00)
                     3/30/2020                                       0.00         9.89          0.00                         (0.00)        30.46          (0.00)
                     3/31/2020                                       0.00         9.69          0.00                         (0.00)        30.27          (0.00)




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Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                      Exhibit B.1
Daily Market Value

   Fund Name                                                   LeggM BW Intl Oppr Bd F1                                             Vngrd Sel Val Inv
   Ticker                                                            GOBFX [a]                                                          VASVX
   Beginning Value               $      -      $   3,452.97                                                $   6,907.72
   Price Per Share                             $      11.50                                                $      27.09
   Beginning Units                      -            300.26                                                      254.99
                                 Units Added   Units Added      Cumulative     Per Share                   Units Added     Cumulative  Per Share
             Date                    [1]           [1]            Units        Value [2]    Market Value       [1]           Units     Value [2]    Market Value
                      1/1/2020                                     300.26    $      11.50   $ 3,452.97                        254.99 $      27.09   $ 6,907.72
                      1/2/2020                                     300.26           10.54      3,164.72                       254.99        27.24      6,945.97
                      1/3/2020                        1.96         302.21           10.51      3,176.28            1.67       256.66        26.99      6,927.22
                      1/6/2020                                     302.21           10.52      3,179.30                       256.66        26.98      6,924.65
                      1/7/2020                                     302.21           10.49      3,170.23                       256.66        26.99      6,927.22
                      1/9/2020                                     302.21           10.48      3,167.21                       256.66        27.06      6,945.19
                     1/10/2020                        (0.38)       301.83           10.50      3,169.22           (0.33)      256.33        26.91      6,897.84
                     1/13/2020                                     301.83           10.49      3,166.20                       256.33        27.05      6,933.72
                     1/14/2020                                     301.83           10.50      3,169.22                       256.33        27.14      6,956.79
                     1/15/2020                                     301.83           10.50      3,169.22                       256.33        27.14      6,956.79
                     1/16/2020                                     301.83           10.50      3,169.22                       256.33        27.40      7,023.44
                     1/17/2020                        1.96         303.79           10.49      3,186.76            1.64       257.97        27.38      7,063.31
                     1/21/2020                                     303.79           10.47      3,180.69                       257.97        27.19      7,014.30
                     1/22/2020                                     303.79           10.51      3,192.84                       257.97        27.20      7,016.88
                     1/23/2020                                     303.79           10.49      3,186.76                       257.97        27.23      7,024.62
                     1/24/2020                                     303.79           10.49      3,186.76                       257.97        26.91      6,942.06
                     1/27/2020                                     303.79           10.43      3,168.53                       257.97        26.41      6,813.08
                     1/28/2020                                     303.79           10.44      3,171.57                       257.97        26.57      6,854.35
                     1/29/2020                                     303.79           10.45      3,174.61                       257.97        26.51      6,838.88
                     1/30/2020                                     303.79           10.44      3,171.57                       257.97        26.64      6,872.41
                     1/31/2020                        1.98         305.77           10.44      3,192.19            1.72       259.70        26.11      6,780.69
                      2/3/2020                                     305.77           10.43      3,189.14                       259.70        26.30      6,830.03
                      2/4/2020                                     305.77           10.45      3,195.25                       259.70        26.65      6,920.92
                      2/5/2020                                     305.77           10.44      3,192.19                       259.70        27.17      7,055.97
                      2/6/2020                                     305.77           10.42      3,186.08                       259.70        27.05      7,024.80
                      2/7/2020                                     305.77           10.37      3,170.79                       259.70        26.79      6,957.28
                     2/10/2020                                     305.77           10.38      3,173.85                       259.70        26.87      6,978.06
                     2/11/2020                                     305.77           10.41      3,183.02                       259.70        27.14      7,048.17
                     2/12/2020                                     305.77           10.42      3,186.08                       259.70        27.38      7,110.50
                     2/13/2020                                     305.77           10.43      3,189.14                       259.70        27.39      7,113.10
                     2/14/2020                        1.97         307.74           10.45      3,215.88           1.65        261.35        27.27      7,126.94
                     2/18/2020       433.18        (306.18)           1.56          10.42         16.24        (261.35)         (0.00)      27.20          (0.00)
                     2/19/2020                                        1.56          10.42         16.24                         (0.00)      27.35          (0.00)
                     2/20/2020                                        1.56          10.37         16.16                         (0.00)      27.47          (0.00)



                                                                                                                                                                    Page 13 of 15
Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                     Exhibit B.1
Daily Market Value

   Fund Name                                                   LeggM BW Intl Oppr Bd F1                                          Vngrd Sel Val Inv
   Ticker                                                            GOBFX [a]                                                       VASVX
   Beginning Value               $       -      $   3,452.97                                             $   6,907.72
   Price Per Share                              $      11.50                                             $      27.09
   Beginning Units                       -            300.26                                                   254.99
                                 Units Added    Units Added     Cumulative   Per Share                   Units Added    Cumulative    Per Share
             Date                    [1]            [1]           Units      Value [2]    Market Value       [1]          Units       Value [2]    Market Value
                     2/21/2020                                        1.56        10.40         16.21                        (0.00)        27.29          (0.00)
                     2/24/2020                                        1.56        10.36         16.15                        (0.00)        26.42          (0.00)
                     2/25/2020                                        1.56        10.36         16.15                        (0.00)        25.39          (0.00)
                     2/26/2020                                        1.56        10.32         16.08                        (0.00)        24.94          (0.00)
                     2/27/2020                                        1.56        10.28         16.02                        (0.00)        23.93          (0.00)
                     2/28/2020        (16.51)           -             1.56        10.20         15.90            -           (0.00)        23.49          (0.00)
                      3/2/2020                                        1.56        10.28         16.02                        (0.00)        24.21          (0.00)
                      3/3/2020                                        1.56        10.33         16.10                        (0.00)        23.60          (0.00)
                      3/4/2020                                        1.56        10.35         16.13                        (0.00)        24.24          (0.00)
                      3/5/2020          2.81            -             1.56        10.33         16.10            -           (0.00)        23.16          (0.00)
                      3/6/2020                                        1.56        10.37         16.16                        (0.00)        22.54          (0.00)
                      3/9/2020                                        1.56        10.22         15.93                        (0.00)        20.26          (0.00)
                     3/10/2020                                        1.56        10.08         15.71                        (0.00)        21.16          (0.00)
                     3/11/2020                                        1.56         9.92         15.46                        (0.00)        19.70          (0.00)
                     3/12/2020                                        1.56         9.59         14.95                        (0.00)        17.23          (0.00)
                     3/13/2020         3.24             -             1.56         9.47         14.76            -           (0.00)        18.50          (0.00)
                     3/16/2020                                        1.56         9.34         14.56                        (0.00)        16.22          (0.00)
                     3/17/2020                                        1.56         9.20         14.34                        (0.00)        16.69          (0.00)
                     3/18/2020                                        1.56         8.76         13.65                        (0.00)        14.80          (0.00)
                     3/19/2020                                        1.56         8.65         13.48                        (0.00)        15.33          (0.00)
                     3/20/2020        36.17             -             1.56         8.70         13.56            -           (0.00)        14.82          (0.00)
                     3/20/2020                                        1.56         8.70         13.56                        (0.00)        14.82          (0.00)
                     3/23/2020                                        1.56         8.66         13.50                        (0.00)        14.29          (0.00)
                     3/24/2020                                        1.56         8.79         13.70                        (0.00)        16.21          (0.00)
                     3/25/2020                                        1.56         8.97         13.98                        (0.00)        17.01          (0.00)
                     3/26/2020                                        1.56         9.23         14.39                        (0.00)        17.91          (0.00)
                     3/27/2020         3.56                           1.56         9.32         14.53                        (0.00)        16.94          (0.00)
                     3/30/2020                                        1.56         9.30         14.49                        (0.00)        17.16          (0.00)
                     3/31/2020                                        1.56         9.33         14.54                        (0.00)        16.89          (0.00)




                                                                                                                                                                   Page 14 of 15
Marilyn J. Mosby, Nationwide Account #11722919                                                                                                                     Exhibit B.1
Daily Market Value

   Fund Name                                           LeggM BW Intl Oppr Bd F1                                                    Vngrd Sel Val Inv
   Ticker                                                    GOBFX [a]                                                                 VASVX
   Beginning Value      $       -      $    3,452.97                                                  $    6,907.72
   Price Per Share                     $       11.50                                                  $       27.09
   Beginning Units              -             300.26                                                         254.99
                         Units Added    Units Added     Cumulative       Per Share                     Units Added     Cumulative       Per Share
             Date            [1]            [1]           Units          Value [2]     Market Value        [1]           Units          Value [2]   Market Value

                                       Source:
                                       [1] USA-010621-627 and USA-010675-681.
                                       [2] Yahoo Finance.

                                       Notes
                                       [a] Note that the fund data available is immaterially different from the prices denoted on the
                                        account statements. Gleason used the fund name and pricing available for this time period as
                                        published on September 28, 2022.




                                                                                                                                                                   Page 15 of 15
United States of America v. Marilyn J. Mosby                                                                                                                            Exhibit C
Illustrative Effect of Pandemic on the Travel Industry

                                                                                                      Stock Price*                                Volatility*
                                                                                                         Change               Change
                                                                                                          from                 from
          Company                  Type                  Industry              12/31/2019   5/27/2020   12/31/19 12/29/2020   12/31/19   2016-2019   2020       Increase

Hotel and Resort Entertainment
  VanEck Gaming ETF                 ETF       Hotel and Resort Entertainment   $    41.21   $    33.92   -17.7%   $   46.22   12.2%       18.5%      44.3%      139.6%
  Walt Disney                      Stock      Hotel and Resort Entertainment   $   144.63   $   121.53   -16.0%   $ 177.30    22.6%       19.1%      48.8%      155.6%
  Cedar Fair                       Stock      Hotel and Resort Entertainment   $    53.87   $    33.06   -38.6%   $   38.58   -28.4%      20.5%      95.7%      365.9%
  Hilton Hotels                    Stock      Hotel and Resort Entertainment   $   110.49   $    82.96   -24.9%   $ 107.71     -2.5%      22.8%      51.5%      125.7%
  Las Vegas Sands                  Stock      Hotel and Resort Entertainment   $    67.69   $    50.93   -24.8%   $   58.11   -14.2%      29.4%      59.2%      101.5%
  Marriott International           Stock      Hotel and Resort Entertainment   $   150.28   $    97.60   -35.1%   $ 128.53    -14.5%      22.9%      66.3%      189.5%
  MGM
  InvescoResorts
          DynamicInternational
                    Leisure &      Stock      Hotel and Resort Entertainment   $    33.00   $    18.09   -45.2%   $   30.75    -6.8%      30.4%      96.9%      218.4%
  Entertainment ETF                ETF        Hotel and Resort Entertainment   $    44.39   $    30.89   -30.4%   $   39.20   -11.7%      14.8%      49.8%      237.6%
  Six Flags Entertainment          Stock      Hotel and Resort Entertainment   $    44.66   $    27.35   -38.8%   $   32.83   -26.5%      26.9%      95.7%      255.6%
  Wynn Resorts                     Stock      Hotel and Resort Entertainment   $   137.71   $    86.93   -36.9%   $ 114.31    -17.0%      41.2%      86.5%      110.0%
  Caesars Entertainment            Stock      Hotel and Resort Entertainment   $    59.64   $    36.42   -38.9%   $   73.37   23.0%       37.8%      131.4% 247.4%


Travel
  Carnival                         Stock                  Cruise               $    50.24   $    17.24   -65.7%   $   21.43   -57.3%      25.0%      123.8% 395.4%
  Norwegian Cruise Line            Stock                  Cruise               $    58.41   $    17.59   -69.9%   $   25.39   -56.5%      31.0%      133.9% 331.6%
  Royal Caribbean Cruises          Stock                  Cruise               $   132.20   $    54.29   -58.9%   $   71.60   -45.8%      30.3%      115.0% 279.4%
  American Airlines Group          Stock                  Travel               $    28.57   $    11.98   -58.1%   $   15.86   -44.5%      35.5%      101.2% 184.9%
  ETFMG Travel Tech ETF**           ETF                   Travel               $    24.81   $    19.12   -22.9%   $   25.55    3.0%        N/A       48.1%        N/A
  U.S. Global Jets ETF              ETF                   Travel               $    31.28   $    15.88   -49.2%   $   22.08   -29.4%      20.8%      68.3%      228.3%
  Southwest Airlines               Stock                  Travel               $    53.77   $    33.66   -37.4%   $   46.15   -14.2%      26.6%      62.7%      135.3%
  United Airlines                  Stock                  Travel               $    88.09   $    30.69   -65.2%   $   43.74   -50.3%      31.2%      104.7% 235.4%


*Based on the adjusted close stock price                 Average                                         -40.8%               -18.9%      26.9%      83.4%      218.7%
**Inception of February 13, 2020                         Median                                          -38.6%               -14.5%      26.8%      86.5%      223.4%




                                                                                                                                                                        Page 1 of 1
                                                                                                               Appendix 1


Jerome B. Schmitt, Jr., CPA/ABV/CFF, CFE
Curriculum Vitae

Professional History

   Gleason & Associates – Managing Director                                           2003 to Present

   As a Managing Director at Gleason & Associates, P.C., Mr. Schmitt has more than 22 years of
   experience in the areas of accounting, finance, economics, valuation, financial restructuring, litigation
   support, and forensic investigations. Mr. Schmitt is Accredited in Business Valuation (ABV) and has
   substantial experience in researching, analyzing and assessing businesses and financial statements in the
   context of business valuation.

   Mr. Schmitt has considerable expertise both in the dispute setting, such providing expert witness
   testimony and consulting with counsel to provide forensic accounting analyses, preliminary damage
   assessments and valuations, and outside the dispute setting, such as performing valuations of
   businesses and assets for public companies, closely held companies, and individuals. Mr. Schmitt also
   has experience in forensic accounting investigations and financial reorganization consulting including
   due diligence analysis, preparation and evaluation of financial forecasts and business plans, and
   evaluation of financial reports and forecasts.

   Grant Thornton – Senior Financial Statement Auditor
   Arthur Andersen – Senior Financial Statement Auditor                                   2000 - 2003


   As a Financial Statement Auditor for both Grant Thornton and Arthur Andersen, Mr. Schmitt
   worked with the Assurance and Advisory Services department. During this time with Grant
   Thornton and Arthur Andersen, Mr. Schmitt served numerous clients in various industries ranging
   in size from small, privately held companies to large multi-national companies.


Education and Certification
   Master of Business Administration, John Carroll University, 2001
   Bachelor of Science in Business Administration, John Carroll University, 2000
   Certified Public Accountant, Ohio 2001
   Certified Public Accountant, Pennsylvania 2003
   Accredited in Business Valuation, 2005
   Certified Fraud Examiner, 2010
   Certified in Financial Forensics, 2012



Professional and Business Affiliations
   American Institute of Certified Public Accountants
   Association of Certified Fraud Examiners
                                                                      Appendix 2


UNITED STATES OF AMERICA v. MARILYN J. MOSBY
Criminal Case No. 22-CR-000007-LKG


Bates Stamped Documents:

                       Beginning Bates Stamp:   Ending Bates Stamp:
                       AMEX000005               AMEX000510
                       AMEX000511               AMEX000512
                       AMEX000513               AMEX000520
                       USA-000005               USA-000061
                       USA-000062               USA-000070
                       USA-000113               USA-000121
                       USA-000122               USA-000191
                       USA-000257               USA-000257
                       USA-000260               USA-000391
                       USA-000403               USA-000407
                       USA-000408               USA-000603
                       USA-000604               USA-000980
                       USA-000981               USA-000990
                       USA-000991               USA-001006
                       USA-001007               USA-001047
                       USA-001055               USA-001061
                       USA-001062               USA-001068
                       USA-001069               USA-001073
                       USA-001074               USA-001076
                       USA-001077               USA-001208
                       USA-001209               USA-001247
                       USA-001248               USA-001254
                       USA-001255               USA-001256
                       USA-001275               USA-001292
                       USA-001293               USA-001297
                       USA-001312               USA-001312
                       USA-001313               USA-001314
                       USA-001315               USA-001350
                       USA-001351               USA-001372
                       USA-001373               USA-001452
                       USA-001453               USA-001453
                       USA-001454               USA-001499
                       USA-001500               USA-001549
                       USA-001554               USA-001556
                       USA-001557               USA-001564
                       USA-001565               USA-001566
                                            1
                                               Appendix 2


Beginning Bates Stamp:   Ending Bates Stamp:
USA-001567               USA-001572
USA-002073               USA-002080
USA-002081               USA-002089
USA-002090               USA-002092
USA-002093               USA-002093
USA-002094               USA-002102
USA-002103               USA-002103
USA-002104               USA-002108
USA-002109               USA-002118
USA-002119               USA-002020
USA-002121               USA-002123
USA-002124               USA-002125
USA-002126               USA-002136
USA-002137               USA-002147
USA-002148               USA-002153
USA-002154               USA-002154
USA-002155               USA-002155
USA-002156               USA-002157
USA-002158               USA-002161
USA-002162               USA-002167
USA-002168               USA-002168
USA-002169               USA-002320
USA-002321               USA-002321
USA-002322               USA-002322
USA-002323               USA-002323
USA-002324               USA-002327
USA-002328               USA-002328
USA-002329               USA-002347
USA-002348               USA-002349
USA-002350               USA-002359
USA-002360               USA-002455
USA-002456               USA-002457
USA-002458               USA-002460
USA-002461               USA-002461
USA-002462               USA-002462
USA-002463               USA-002740
USA-002741               USA-002752
USA-002753               USA-002760
USA-003061               USA-003774
USA-003775               USA-003848
USA-003849               USA-003918
                     2
                                               Appendix 2


Beginning Bates Stamp:   Ending Bates Stamp:
USA-003919               USA-004458
USA-004459               USA-004459
USA-004460               USA-004461
USA-004462               USA-004491
USA-004492               USA-004496
USA-004497               USA-004530
USA-004531               USA-004534
USA-004535               USA-004538
USA-004539               USA-004544
USA-004545               USA-004545
USA-004546               USA-004603
USA-004604               USA-004604
USA-004605               USA-004606
USA-004607               USA-004607
USA-004608               USA-004608
USA-004609               USA-004634
USA-004635               USA-004664
USA-004665               USA-004668
USA-004669               USA-004669
USA-004670               USA-004671
USA-004672               USA-004679
USA-004680               USA-004685
USA-004686               USA-004686
USA-004687               USA-004706
USA-004707               USA-004708
USA-004709               USA-004722
USA-004725               USA-004725
USA-004726               USA-004727
USA-004728               USA-004779
USA-004780               USA-004782
USA-004783               USA-004784
USA-004785               USA-004850
USA-004851               USA-004866
USA-004867               USA-004937
USA-004938               USA-004938
USA-004939               USA-004939
USA-004940               USA-005055
USA-005056               USA-005079
USA-005080               USA-005080
USA-005081               USA-005082
USA-005083               USA-005084
                     3
                                               Appendix 2


Beginning Bates Stamp:   Ending Bates Stamp:
USA-005085               USA-005086
USA-005087               USA-005088
USA-005089               USA-005090
USA-005091               USA-005092
USA-005093               USA-005094
USA-005095               USA-005096
USA-005097               USA-005098
USA-005099               USA-005099
USA-005100               USA-005100
USA-005101               USA-005101
USA-005102               USA-005103
USA-005104               USA-005105
USA-005106               USA-005106
USA-005111               USA-005319
USA-006446               USA-006448
USA-006449               USA-006449
USA-006512               USA-006513
USA-006651               USA-006652
USA-006891               USA-006891
USA-006938               USA-006939
USA-006940               USA-006942
USA-006943               USA-007150
USA-007151               USA-007153
USA-007154               USA-007174
USA-007175               USA-007175
USA-007176               USA-007187
USA-007188               USA-007188
USA-007189               USA-007189
USA-007190               USA-007191
USA-007192               USA-007200
USA-007237               USA-007258
USA-007259               USA-007280
USA-007281               USA-007281
USA-007282               USA-007289
USA-007290               USA-007297
USA-007298               USA-007300
USA-007301               USA-007304
USA-007305               USA-007306
USA-007307               USA-007312
USA-007313               USA-007313
USA-007314               USA-007314
                     4
                                               Appendix 2


Beginning Bates Stamp:   Ending Bates Stamp:
USA-007315               USA-007315
USA-007316               USA-007316
USA-007317               USA-007318
USA-007319               USA-007320
USA-007321               USA-007322
USA-007323               USA-007323
USA-007324               USA-007324
USA-007325               USA-007337
USA-007338               USA-007338
USA-007339               USA-007344
USA-007345               USA-007346
USA-007347               USA-007380
USA-007381               USA-007381
USA-007382               USA-007440
USA-007441               USA-007441
USA-007442               USA-007455
USA-007905               USA-007905
USA-007906               USA-007907
USA-007908               USA-007911
USA-007912               USA-007912
USA-007913               USA-008128
USA-008129               USA-008129
USA-008130               USA-008130
USA-008131               USA-008131
USA-008132               USA-008132
USA-008133               USA-008267
USA-008268               USA-008269
USA-008270               USA-008279
USA-008280               USA-008560
USA-008561               USA-008677
USA-008678               USA-008679
USA-008680               USA-008680
USA-008681               USA-008681
USA-008682               USA-008699
USA-008700               USA-008701
USA-008702               USA-008719
USA-008720               USA-008720
USA-008721               USA-008721
USA-008722               USA-008739
USA-008740               USA-008740
USA-008741               USA-008741
                     5
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Beginning Bates Stamp:   Ending Bates Stamp:
USA-008742               USA-008745
USA-008746               USA-008753
USA-008754               USA-008758
USA-008759               USA-008759
USA-008760               USA-008854
USA-008855               USA-008866
USA-008867               USA-008878
USA-008879               USA-008894
USA-008895               USA-008904
USA-008905               USA-008912
USA-008913               USA-008924
USA-008925               USA-008927
USA-008928               USA-008928
USA-008929               USA-008929
USA-008930               USA-008934
USA-008935               USA-008935
USA-008936               USA-008971
USA-008972               USA-008975
USA-008976               USA-008991
USA-008992               USA-009011
USA-009012               USA-009012
USA-009013               USA-009014
USA-009015               USA-009015
USA-009016               USA-009017
USA-009018               USA-009019
USA-009020               USA-009031
USA-009032               USA-009033
USA-009034               USA-009037
USA-009038               USA-009047
USA-009048               USA-009049
USA-009050               USA-009081
USA-009082               USA-009089
USA-009090               USA-009093
USA-009094               USA-009094
USA-009095               USA-009095
USA-009096               USA-009096
USA-009097               USA-009097
USA-009098               USA-009099
USA-009100               USA-009100
USA-009101               USA-009103
USA-009104               USA-009106
                     6
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Beginning Bates Stamp:   Ending Bates Stamp:
USA-009107               USA-009110
USA-009111               USA-009116
USA-009117               USA-009120
USA-009121               USA-009125
USA-009126               USA-009148
USA-009149               USA-009161
USA-009162               USA-009162
USA-009163               USA-009164
USA-009165               USA-009166
USA-009167               USA-009168
USA-009169               USA-009174
USA-009175               USA-009176
USA-009177               USA-009178
USA-009179               USA-009180
USA-009181               USA-009182
USA-009183               USA-009184
USA-009185               USA-009197
USA-009198               USA-009198
USA-009199               USA-009201
USA-009202               USA-009237
USA-009238               USA-009249
USA-009250               USA-009268
USA-009269               USA-009276
USA-009277               USA-009277
USA-009278               USA-009279
USA-009280               USA-009299
USA-009300               USA-009303
USA-009304               USA-009351
USA-009352               USA-009379
USA-009380               USA-009381
USA-009382               USA-009472
USA-009478               USA-009982
USA-009983               USA-010088
USA-010093               USA-010127
USA-010128               USA-010162
USA-010621               USA-010627
USA-010675               USA-010681
USA-010686               USA-010687
USA-010870               USA-010876
USA-010993               USA-010994
USA-010995               USA-011008
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Beginning Bates Stamp:   Ending Bates Stamp:
USA-011009               USA-011080
USA-011104               USA-011126
USA-011131               USA-011131
USA-011132               USA-011141
USA-012592               USA-012598
USA-012599               USA-012606
USA-012607               USA-012607
USA-012608               USA-012610
USA-012611               USA-012615
USA-012616               USA-012616
USA-012617               USA-012660
USA-013286               USA-013286
USA-013287               USA-013287
USA-013288               USA-013288
USA-013291               USA-014209
USA-014210               USA-014210
USA-014211               USA-014211
USA-014253               USA-014258
USA-015512               USA-015513
USA-015514               USA-015526
USA-015727               USA-015762
USA-015763               USA-015793
USA-015794               USA-015827
USA-015828               USA-015858
USA-015859               USA-015892
USA-015893               USA-015931
USA-015932               USA-015962
USA-015963               USA-015988
USA-015989               USA-016005
USA-016006               USA-016035
USA-016036               USA-016037
USA-016038               USA-016041
USA-016042               USA-016043
USA-016044               USA-016045
USA-016046               USA-016047
USA-016048               USA-016049
USA-016050               USA-016051
USA-016052               USA-016053
USA-016054               USA-016055
USA-016056               USA-016058
USA-016059               USA-016060
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                          Beginning Bates Stamp:     Ending Bates Stamp:
                          USA-016061                 USA-016061
                          USA-016062                 USA-016062
                          USA-016063                 USA-016063
                          USA-016064                 USA-016067
                          USA-016068                 USA-016068
                          USA-016069                 USA-016087
                          USA-016088                 USA-016088
                          USA-016089                 USA-016118
                          USA-016119                 USA-016119
                          USA-016120                 USA-016149
                          USA-016150                 USA-016345
                          USA-016346                 USA-016413
                          USA-016414                 USA-016414
                          USA-016415                 USA-016426
                          USA-016427                 USA-016428
                          USA-016429                 USA-016430
                          USA-016431                 USA-016462
                          USA-016463                 USA-016478
                          USA-016479                 USA-016502
                          USA-016503                 USA-016503
                          USA-016690                 USA-016728
                          USA-016749                 USA-016767


Other Documents Received:

Brown Multimedia Estimate, dated June 6, 2019
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Brown Multimedia Invoice, dated June 6, 2019
[10719.pdf]

City of Baltimore Retirement Savings and Deferred Compensation Plans 457(b) Coronavirus-Related
Distribution Request, dated May 26, 2020
[Nationwide Withdrawal Form – 1.pdf]

City of Baltimore Retirement Savings and Deferred Compensation Plans 457(b) Coronavirus-Related
Distribution Request, dated December 29, 2020
[Nationwide Withdrawal From – 2.pdf]

Email regarding Questions from Brew to Ms. Mosby, dated July 15, 2020
[Press Statement on July 15 2020.pdf]


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Letter from A. Scott Bolden, Rizwan A. Qureshi, and Kelley Miller of Reed Smith to Melissa Siskind, Trial
Attorney of the United States Department of Justice, Tax Division, dated September 14, 2021 regarding
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31-more-than-one-third-of-humanity-was-under-some-form-of-lockdown-26021

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https://www.cdc.gov/museum/timeline/covid19.html

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n%20DeSantis,be%20declared%20in%20the%20State%20of%20Florida%3B%20and

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stay-home-infographic/?sh=429f640f5c33

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maryland-casinos-racetracks-and-simulcastbetting-facilities-to-prevent-the-spread-of-covid-19/

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Various Publicly Available Court Filings and Pleadings



Other documents and information as referenced throughout this report.




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